           Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 1 of 82




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                            ENTERED
                                                                                                                 08/21/2020
                                                             )
In re:                                                       )   Chapter 11
                                                             )
                                      1
ARENA ENERGY, LP, et al.,                                    )   Case No. 20-34215 (MI)
                                                             )
                                                             )   (Jointly Administered)
                                      Debtors.               )
                                                             )   Re: Docket No. 32

                            ORDER (I) SCHEDULING A
                      COMBINED DISCLOSURE STATEMENT
                 APPROVAL AND PLAN CONFIRMATION HEARING,
               (II) CONDITIONALLY APPROVING THE DISCLOSURE
            STATEMENT, (III) ESTABLISHING PLAN AND DISCLOSURE
         STATEMENT OBJECTION AND REPLY DEADLINES AND RELATED
        PROCEDURES, (IV) APPROVING THE SOLICITATION PROCEDURES,
       (V) APPROVING THE COMBINED NOTICE, AND (VI) CONDITIONALLY
       WAIVING THE REQUIREMENTS THAT THE U.S. TRUSTEE CONVENE A
     MEETING OF CREDITORS AND THE DEBTORS FILE SCHEDULES AND SOFAS
                                                 2
           Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) scheduling the Combined

Hearing; (b) conditionally approving the Disclosure Statement; (c) establishing the Confirmation

Objection Deadline and approving related procedures; (d) approving the Solicitation Procedures;

(e) approving the form and manner of the Combined Notice; (f) conditionally (i) directing that

the U.S. Trustee not convene a Creditors’ Meeting under section 341(e) of the Bankruptcy Code,

provided that the Plan is confirmed within 45 days of the Petition Date, and (ii) waiving the

requirement that the Debtors file Statements and SOFAs, provided that the Plan is confirmed



1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
      Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
      location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 2 of 82




within 45 days of the Petition Date; and (g) allowing the notice period for the Disclosure Statement

and Combined Hearing to run simultaneously, each as more fully set forth in the Motion; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is permissible pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                            Approval of the Confirmation Schedule

       1.      The Combined Hearing, at which time this Court will consider, among other things,

final approval of the adequacy of the Disclosure Statement and confirmation of the Plan, shall be

held on September 25, 2020, at 10:00 a.m., prevailing Central Time.

       2.      The Disclosure Statement is conditionally approved and its use in the Debtors’

prepetition solicitation of acceptances of the Plan is approved.

       3.      Any objections to the adequacy of the Disclosure Statement and confirmation of

the Plan shall be filed on or before September 18, 2020, at 4:00 p.m., prevailing Central Time.

       4.      Any brief in support of confirmation of the Plan and reply to any objections shall

be filed on or before September 22, 2020, at 4:00 p.m., prevailing Central Time.


                                                 2
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 3 of 82




       5.        Any objections to the Disclosure Statement or confirmation of the Plan must:

                 a.     be in writing;

                 b.     comply with the Bankruptcy Code, the Bankruptcy Rules, and
                        the Bankruptcy Local Rules;

                 c.     state the name and address of the objecting party and the amount and nature
                        of the claim or interest beneficially owned by such entity;

                 d.     state with particularity the legal and factual basis for such objections, and,
                        if practicable, a proposed modification to the Plan that would resolve such
                        objections; and

                 e.     be filed with this Court with proof of service thereof.

       6.        Any objections not satisfying the requirements of this Order shall not be considered

and shall be overruled.

                   Approval of the Solicitation Procedures and Related Notices

       7.        The form of the Combined Notice, substantially in the form attached hereto as

Exhibit 1, the Publication Notice, substantially in the form attached hereto as Exhibit 2, and

the Notice of Non-Voting Status and Opportunity to Opt Out, substantially in the form attached

hereto as Exhibit 3, and service thereof, comply with the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules and are approved.

       8.        The Opt-Out Deadline is approved.

       9.        The Debtors are authorized to enter into transactions to cause the Publication Notice

to be published in the New York Times and the Houston Chronicle within five business days

following entry of this Order, or as soon as reasonably practicable thereafter; and to make

reasonable payments required for such publication. The Publication Notice, together with the

Combined Notice provided for in the Motion, is deemed to be sufficient and appropriate under the

circumstances.

       10.       The Voting Record Date and the Voting Deadline are approved.


                                                   3
           Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 4 of 82




       11.      The Solicitation Procedures utilized by the Debtors            for   distribution   of

the Solicitation Packages as set forth in the Motion in soliciting acceptances and rejections of

the Plan satisfy the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy

Local Rules, and any other applicable rules, laws, and regulations, including any applicable

registration requirements under the Securities Act, and any exemptions from registration under

Blue Sky requirements and are approved.

       12.      The Ballots, substantially in the form attached hereto as Exhibit 4A and

Exhibit 4B, are approved.

       13.      The procedures used for tabulations of votes to accept or reject the Plan as set forth

in the Motion and as provided by the Ballots are approved.

       14.      The Debtors are not required to mail a copy of the Plan or the Disclosure Statement

to Holders of Claims or Interests that are Unimpaired under, and conclusively presumed to accept,

the Plan or Holders of Claims or Interests that are Impaired and do not receive or retain any

property under, and conclusively presumed to reject, the Plan.

                               Matters Involving the U.S. Trustee

       15.      The U.S. Trustee need not and shall not convene a meeting of creditors or equity

Holders pursuant to section 341(e) of the Bankruptcy Code unless the Plan is not confirmed on or

before October 4, 2020, without prejudice to the Debtors’ right to request further extension thereof.

       16.      Cause exists to extend the time by which the Debtors must file the Schedules and

SOFAs until October 4, 2020, without prejudice to the Debtors’ rights to request further extensions

thereof.




                                                  4
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 5 of 82




                            Assumption and Assignment Procedures

       17.      The Assumption and Assignment Procedures (including the form of the Executory

Contract and Unexpired Lease Notice), as detailed in the Motion and incorporated herein by

reference as if fully set forth in this Order, are ratified and approved.

       18.      Service of the Executory Contract and Unexpired Lease Notice and the Combined

Hearing Notice as set forth herein shall be deemed good and sufficient notice of, among other

things, the proposed assumption by an Acquired Debtor or assumption and assignment to the Plan

Sponsor of the 365 Contracts, the applicable Cure Costs related thereto, and the procedures for

objecting thereto, and no other or further notice is necessary.

       19.      Any objection to the proposed assumption by an Acquired Debtor or assumption

and assignment to the Plan Sponsor of the applicable 365 Contract (including, for the avoidance

of any doubt, any objection to an Acquired Debtor or the Plan Sponsor’s ability to provide adequate

assurance of future performance or the proposed Cure Costs), must (a) state in writing, with

specificity, the legal and factual basis for such objection as well as what Cure Costs are required,

if any, (b) include appropriate documentation in support thereof, and (c) be filed with the Court no

later than the Contract Objection Deadline.

       20.      Any time prior to the closing of the Effective Date, the Debtors are authorized, but

not directed, to supplement the list of 365 Contracts on the Executory Contract and Unexpired

Lease Notice or any exhibit thereto or any future notice with previously omitted 365 Contracts,

remove a 365 Contract from the Executory Contract and Unexpired Lease Notice or any exhibit

thereto or any future notice, or modify the previously stated Cure Cost associated with any

365 Contract.

       21.      In the event that the Debtors supplement the Executory Contract and Unexpired

Lease Notice or any exhibit thereto or modify the previously stated Cure Cost for a particular 365


                                                   5
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 6 of 82




Contract, the Debtors shall promptly serve a revised notice on each counterparty affected. Such

counterparties shall file any objection with respect to the revised notice not later than seven (7)

days after the date of filing and service of the revised notice.

       22.     At the Combined Hearing, the Debtors will seek Court approval of the assumption

by an Acquired Debtor or assumption and assignment to the Plan Sponsor, as applicable, of the

Assumed Contracts and Leases. The inclusion of a 365 Contract in the Executory Contract or

Unexpired Lease Notice will not: (a) obligate the Debtors to assume any 365 Contract listed

thereon or obligate the Plan Sponsor to take assignment of such 365 Contract; or (b) constitute any

admission or agreement of the Debtors that such 365 Contract is an Executory Contract or

Unexpired Lease. The Debtors’ assumption and assignment to the Plan Sponsor (or assumption

by an Acquired Debtor) of any 365 Contract is subject to consummation of the Plan. In the event

the consummation of the Plan does not occur, no Executory Contract or Unexpired Lease

(including any 365 Contract) or leases will be deemed assumed or assigned and all contracts and

leases shall, in all respects, remain subject to further administration under the Bankruptcy Code.

       23.     If a counterparty to a 365 Contract does not timely file and serve an objection that

is consistent with the requirements set forth above by the Contract Objection Deadline, (a) such

counterparty will be deemed to have consented to the assumption by an Acquired Debtor or

assumption and assignment to the Plan Sponsor, as applicable, of such 365 Contract to the Plan

Sponsor, notwithstanding any anti-alienation provision or other restriction on assumption or

assignment in such 365 Contract, and will be forever barred from asserting any objection with

regard to such assumption or assumption and assignment, as applicable, and/or Cure Costs set

forth on the Executory Contract and Unexpired Lease Notice or any exhibit thereto, (b) any and

all defaults under such 365 Contract and any and all pecuniary losses related thereto shall be




                                                  6
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 7 of 82




deemed cured and compensated pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy Code

upon payment of the Cure Cost set forth in the Executory Contract and Unexpired Lease Notice

or any exhibit thereto for such 365 Contract, and (c) the Cure Cost set forth in the Executory

Contract and Unexpired Lease Notice or any exhibit thereto for such 365 Contract shall be

controlling, notwithstanding anything to the contrary in such 365 Contract, or any other related

document, and such counterparty shall be deemed to have consented to the Cure Cost and shall be

forever barred from asserting any other claims related to such 365 Contract against the Debtors

and their estates, an Acquired Debtor, or the Plan Sponsor, or the property of any of them, that

existed prior to the entry of the order resolving the objections and the Confirmation Order.

        24.      To the extent that the parties are unable to consensually resolve any objection prior

to the commencement of the Combined Hearing, including any dispute with respect to the Cure

Cost (any such dispute, a “Cure Dispute”) which must be raised no later than the Contract

Objection Deadline, such objection will be adjudicated at the Combined Hearing or at such other

date and time as may be fixed by this Court; provided, however, that if the objection relates solely

to a Cure Dispute, the 365 Contract may be assumed by an Acquired Debtor or assumed and

assigned to the Plan Sponsor, as applicable, at the Effective Date, with all rights with respect to

any such Cure Dispute reserved pending the Court’s adjudication of such Cure Dispute.

              Procedures for Asserting Assignment Objections and Rights Objections

        25.      The procedures for asserting Assignment Objections and Rights Objections

(as defined herein), as detailed in the Motion and incorporated herein by reference as if fully set

forth in this Order, are ratified and approved.

        26.      If any party objects to the assignment to (a) the Plan Sponsor of any applicable

contracts that are not 365 Contracts or Encumbered Assets, then such party must file with the Court

an objection that (a) states, in writing, with specificity, the basis for objecting to the assignment of


                                                   7
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 8 of 82




such applicable contract(s) or other assets, (b) identify the applicable contract(s), and (c) includes

all supporting documentation or the Plan Sponsor of any applicable contracts that are not 365

Contracts or other Encumbered Assets, free and clear of all claims, encumbrances or liabilities

other than assumed obligations and certain permitted encumbrances, then such party must file with

the Court no later than the Confirmation Objection Deadline, an objection that (x) states, in writing,

with specificity, the basis for objecting to the assignment of such applicable contract(s) or other

assets, (y) identify the applicable contract(s), and (z) includes all supporting documentation.

       27.     If any purported holder of a Preferential Purchase Right objects to the transfer of

the Debtors’ assets to the Plan Sponsor free and clear of any such Preferential Purchase Rights,

then such holder must file with this Court no later than the Confirmation Objection Deadline, an

objection that states, in writing (a) the assets subject to such Preferential Purchase Right(s), (b) the

applicable agreement, document, or statute giving rise to such Preferential Purchase Right(s), and

(c) the portion of the agreement, document, or statute giving rise to such Preferential Purchase

Right(s), and including all supporting documentation (a “Rights Objection”).

       28.     If a party files an Assignment Objection or Rights Objection in a manner that is

consistent with the requirements set forth herein and the parties are unable to consensually resolve

the dispute prior to the Combined Hearing, such objection will be heard by this Court at

the Combined Hearing or such other date and time as may be fixed by this Court.

       29.     Any person failing to timely file, as applicable, will be (a) forever barred from

objecting to the transfer, sale, assumption, and/or assignment of the Debtors’ right, title, and

interest in, to, and under the Debtors’ assets to be sold, assumed, and/or assigned in connection

with the Plan, free and clear of all claims, encumbrances or liabilities other than the assumed

obligations and certain permitted encumbrances, and from asserting any alleged Preferential




                                                   8
        Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 9 of 82




Purchase Rights with respect to the Plan, and (b) deemed to consent to and approve the transfer,

sale, assumption, and/or assignment of such right, title, and interest in, to, and under such Debtors’

assets, free and clear of all claims, encumbrances or liabilities other than the assumed obligations

and certain permitted encumbrances, regardless of whether such consent must be in writing.

       30.     If any person files an Assignment Objection or Rights Objection in accordance

herewith, the Debtors and other parties in interest will have the opportunity to object to any alleged

rights asserted by such person by filing a response to the Assignment Objection or Rights

Objection, as applicable (and serving such response on the objecting party) at any time prior to the

Combined Hearing. Upon the filing of such response to such objection, any rights asserted will

be deemed to be disputed and the Debtors will be entitled to assert that a bona fide dispute exists

as to such rights asserted.

       31.     Nothing in this Order or the Motion shall be deemed a waiver of any rights of the

Debtors or any other parties in interest to contest any rights asserted by any person in such

objections, and all such rights of the Debtors are expressly preserved.

                                  Other Matters; Miscellaneous

       32.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       33.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.




                                                  9
       Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 10 of 82




       34.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       35.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

     SIGNED 08/21/2020

                                                  ___________________________________
                                                                Marvin Isgur
                                                       United States Bankruptcy Judge




                                                10
Case 20-34215 Document 44 Filed in TXSB on 08/21/20 Page 11 of 82



                             Exhibit 1

                     Proposed Combined Notice
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 12 12 of 82
                                                                       of 82



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
In re:                                                       ) Chapter 11
                                                             )
                                      1
ARENA ENERGY, LP, et al.,                                    ) Case No. 20-34215 (MI)
                                                             )
                                                             ) (Jointly Administered)
                                      Debtors.               )
                                                             )

      NOTICE OF (I) COMMENCEMENT OF PREPACKAGED CHAPTER 11
     BANKRUPTCY CASES, (II) COMBINED HEARING ON THE DISCLOSURE
STATEMENT, CONFIRMATION OF THE JOINT PREPACKAGED CHAPTER 11 PLAN,
AND RELATED MATTERS, AND (III) RELATED OBJECTION AND BRIEFING DEADLINES

           NOTICE IS HEREBY GIVEN as follows:

        On August 20, 2020 (the “Petition Date”), Arena Energy, LP and certain of its affiliates,
as debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,
the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”). Contemporaneously therewith,
the Debtors filed the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy
Code [Docket No. 12] (as may be amended, modified, or supplemented from time to time and
including all exhibits and supplements thereto, the “Plan”) and the Disclosure Statement Relating
to the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 13] (as amended, supplemented, or otherwise modified from time to time, including
all exhibits and supplements thereto, the “Disclosure Statement”)2 pursuant to sections 1125 and
1126(b) of the Bankruptcy Code. Copies of the Plan and the Disclosure Statement: (a) are
available on the Debtors’ restructuring website, free of charge,                                    at
http://www.kccllc.net/Arena; (b) may be obtained upon request of the Debtors’ proposed counsel
at the address specified below; (c) are on file with the Clerk of the Bankruptcy Court, 4th Floor,

1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
      Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
      location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or
      Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained
      in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the terms and
      provisions of the Plan or documents referred to therein. To the extent there is a discrepancy between the terms
      herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and
      control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
        Case20-34215
       Case  20-34215Document
                      Document  44 Filed
                              32-1  Filedonin08/21/20
                                              TXSB onin08/21/20 Page
                                                        TXSB Page 13 13 of 82
                                                                     of 82



515 Rusk Street, Houston, Texas 77002, where they are available for review between the hours of
8:30 a.m. to 5:00 p.m., prevailing Central Time; and (d) are available for inspection for a fee on
the Bankruptcy Court’s website at www.txs.uscourts.gov.

                     Information Regarding the Plan and Disclosure Statement

        Voting Record Date. The voting record date was August 12, 2020, which was the date
for determining which Holders of Claims in Class 3 (RBL Facility Claims) and Class 4 (Term
Loan Claims) were entitled to vote on the Plan.

         Objections to the Plan and Disclosure Statement. Any objections (each,
an “Objection”) to the Plan and Disclosure Statement, or the proposed assumption of Executory
Contracts and Unexpired Leases, must: (a) be in writing; (b) comply with the Federal Rules of
Bankruptcy Procedure and the Bankruptcy Local Rules for the Southern District of Texas; (c) state
the name and address of the objecting party and the amount and nature of the Claim or Interest
owned by such Entity; (d) state with particularity the legal and factual basis for such Objections,
and, if practicable, a proposed modification to the Plan or Disclosure Statement that would resolve
such Objections; and (e) be filed on the Bankruptcy Court’s docket no later than
September 18, 2020, at 4:00 p.m., prevailing Central Time.

UNLESS AN OBJECTION IS TIMELY FILED IN ACCORDANCE WITH THIS NOTICE
IT MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASE, EXCULPATION, DISCHARGE, AND INJUNCTION
PROVISIONS, AS YOUR RIGHTS MIGHT BE AFFECTED.

                                            Key Terms of the Plan3

        The Plan provides, among other things, that upon emergence:

        •    All outstanding and undisputed General Unsecured Claims against the Debtors will be
             paid in full in cash, Reinstated, or otherwise Unimpaired by the Plan and satisfied in
             the ordinary course of business;

        •    All Other Priority Claims and Other Secured Claims will be paid in full in cash,
             Reinstated, or receive such other treatment that renders such Claims unimpaired under
             the Bankruptcy Code;

        •    Each Holder of an Allowed RBL Facility Claim will receive its Pro Rata portion of:
             (a) the Plan Sponsor Cash Amount and (b) the RBL Contingent Value Rights;




3
    This summary is qualified in its entirety by the terms of the Plan. In the event of inconsistency or conflict between
    this summary and the terms of the Plan, the terms of the Plan shall control and govern.


                                                           2
         Case20-34215
        Case  20-34215Document
                       Document  44 Filed
                               32-1  Filedonin08/21/20
                                               TXSB onin08/21/20 Page
                                                         TXSB Page 14 14 of 82
                                                                      of 82



         •   Each Holder of an Allowed Term Loan Claim shall receive its Pro Rata portion of
             the Term Loan Contingent Value Rights;

         •   Arena Energy, LP Interests, Arena Energy GP, LLC Interests, Arena Energy 2020 GP,
             LLC Interests, and Sagamore Hill Holdings, LP Interests shall be, at the election of the
             Plan Sponsor in its sole discretion, (a) canceled, released and extinguished or
             (b) otherwise treated as determined by the Plan Sponsor in its sole discretion, in either
             case without the Holders thereof receiving any distribution on account of such Interests;

         •   Section 510(b) Claims will be canceled, released, and extinguished, and will be of no
             further force or effect; and

         •   All Intercompany Claims and Interests shall be at the election of the Plan Sponsor in
             its sole discretion: (a) Reinstated; (b) compromised, distributed, contributed, set off,
             settled, canceled, released and/or extinguished, without any distribution on account of
             such Intercompany Claims or Interests; or (c) otherwise treated as determined by
             the Plan Sponsor in its sole discretion.

        The following chart summarizes the treatment provided by the Plan to each Class of Claims
against and Interests in the Debtors and indicates the voting status of each Class.

                                                                                       Projected Plan
Class             Claim or Interest                Status         Voting Rights
                                                                                       Recovery (%)
                                                                Not Entitled to Vote
  1      Other Priority Claims                  Unimpaired                                 100%
                                                               (Presumed to Accept)
                                                                Not Entitled to Vote
  2      Other Secured Claims                   Unimpaired                                 100%
                                                               (Presumed to Accept)

  3      RBL Facility Claims                     Impaired        Entitled to Vote      10.3%-19.9%

  4      Term Loan Claims                        Impaired        Entitled to Vote       Up to 2.3%

                                                                Not Entitled to Vote
  5      General Unsecured Claims               Unimpaired                                 100%
                                                               (Presumed to Accept)
                                                                Not Entitled to Vote
                                                Impaired /
  6      Intercompany Claims                                   (Deemed to Reject or         0%
                                                Unimpaired
                                                               Presumed to Accept)
                                                                Not Entitled to Vote
                                                Impaired /
  7      Intercompany Interests                                (Deemed to Reject or         0%
                                                Unimpaired
                                                               Presumed to Accept)
                                                                Not Entitled to Vote
  8      Section 510(b) Claims                   Impaired                                   0%
                                                                (Deemed to Reject)
                                                               Not Entitled to Vote
  9      Arena Energy, LP Interests              Impaired                                   0%
                                                               (Deemed to Reject)
                                                               Not Entitled to Vote
 10      Arena Energy GP, LLC Interests          Impaired                                   0%
                                                               (Deemed to Reject)


                                                   3
         Case20-34215
        Case  20-34215Document
                       Document  44 Filed
                               32-1  Filedonin08/21/20
                                               TXSB onin08/21/20 Page
                                                         TXSB Page 15 15 of 82
                                                                      of 82




                                                                                       Projected Plan
Class             Claim or Interest               Status          Voting Rights
                                                                                       Recovery (%)
                                                               Not Entitled to Vote
 11      Arena Energy 2020 GP, LLC Interests     Impaired                                    0%
                                                               (Deemed to Reject)
                                                               Not Entitled to Vote
 12      Sagamore Hill Holdings, LP Interests    Impaired                                    0%
                                                               (Deemed to Reject)
                       Discharge, Injunctions, Exculpation, and Releases

        Please be advised that the Plan contains certain release, exculpation, discharge, and
injunction provisions as set forth below. All Holders of Claims or Interests will be deemed to
have expressly, unconditionally, generally, individually, and collectively consented to the
releases and discharge of all Claims and causes of actions against the Debtors and
the Released Parties unless such Holders: (x) elect to opt out of the releases contained in
Article IX of the Plan; or (y) timely object to the releases contained in Article IX.E of the Plan
and such objection is not resolved before confirmation.
Relevant Definitions

“Exculpated Party” means, collectively, and in each case in its capacity as such: (a) the Debtors;
(b) each Consenting RBL Facility Lender; (c) the RBL Facility Agent; (d) the Plan Sponsor;
(e) each Consenting Term Loan Lender; (f) the Term Loan Agent; and (g) with respect to each of
the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current
and former Affiliates’ current and former equity holders (direct and indirect), subsidiaries, officers,
directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and
other professionals, each in their capacity as such.

“Released Parties” means collectively, and in each case, in their respective capacities as such:
(a) each Consenting RBL Facility Lender and any other Holders of RBL Facility Claims that vote
to accept the Plan and do not opt out of the releases in the Plan; (b) the RBL Facility Agent; (c) the
Plan Sponsor; (d) each Consenting Term Loan Lender and any other Holders of Term Loan Claims
that vote to accept the Plan and do not opt out of the releases in the Plan; (e) the Term Loan Agent;
(f) each current and former Affiliate of each Entity in clause (a) through (e); (g) with respect to
each Entity in clause (a) through (f), each such Entity’s current and former equity holders (direct
and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents,
advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such; and (h) each
Debtor’s current and former Affiliates, and each Debtor’s and each such Affiliate’s current and
former equity holders (direct and indirect), subsidiaries, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, and other professionals, each in
their capacity as such.

“Releasing Parties” means , collectively, and in each case in their respective capacities as such:
(a) each Consenting RBL Facility Lender; (b) the RBL Facility Agent; (c) each Consenting Term
Loan Lender; (d) the Term Loan Agent; (e) each Holder of Claims and Interests that votes to accept

                                                  4
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 16 16 of 82
                                                                    of 82



the Plan; (f) each Holder of Claims or Interests that (i) abstains from voting on the Plan and who
does not opt out of the releases in the Plan, (ii) votes to reject the Plan and who does not opt out
of the releases in the Plan, or (iii) is presumed to accept or deemed to reject the Plan and who does
not opt out of the releases in the Plan; (g) the Plan Sponsor; (h) each current and former Affiliate
of each Entity in clause (a) through (g); (i) with respect to each Entity in clause (a) through (h),
each such Entity’s current and former Affiliates, and each such Entity’s and each such Affiliate’s
current and former equity holders (direct and indirect), subsidiaries, officers, directors, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals,
each in their capacity as such; and (j) each Debtor’s current and former Affiliates, and each
Debtor’s and each such Affiliate’s current and former equity holders (direct and indirect),
subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

RELEASES BY THE DEBTORS

Notwithstanding anything contained in the Plan, the Confirmation Order, or the Plan
Sponsor Agreement to the contrary, pursuant to section 1123(b) of the Bankruptcy Code, for
good and valuable consideration, the adequacy of which is hereby confirmed, on and after
the Effective Date, each Released Party is, and is deemed to be, hereby conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors
and their Estates, in each case on behalf of themselves and their respective successors, assigns
and representatives, and any and all other Entities who may purport to assert any Claim or
Cause of Action, directly or derivatively, by, through, for, or because of the foregoing
Entities, from any and all Claims and Causes of Action, including any derivative claims
asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,
matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or
otherwise, that the Debtors or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim
against, or Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or
Interest in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on
or relating to, or in any manner arising from, in whole or in part, the Debtors (including the
capital structure, management, ownership, or operation thereof), the RBL Facility, the
assertion or enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-
of-court restructuring efforts, any Avoidance Actions, intercompany transactions between
or among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor
Transaction, the Restructuring Transaction, or any other contract, instrument, release, or
other agreement or document (including any legal opinion requested by any Entity regarding
any transaction, contract, instrument, document or other agreement contemplated by the
Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) related to any of the foregoing or created or entered into in connection
with the RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor
Transaction, or the Restructuring Transaction, or any other actions taken to effectuate the

                                                 5
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 17 17 of 82
                                                                   of 82



Plan, before or during the Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of securities or other property pursuant to
the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date. Notwithstanding the inclusion of any Released Parties as a potential party to any
Transferred Causes of Action (including, for each, Avoidance Actions), such parties shall
remain Released Parties.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement the
Plan.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases herein, which includes by reference each
of the related provisions and definitions contained herein, and further, shall constitute the
Bankruptcy Court’s finding that the releases herein are: (1) essential to the Confirmation
of the Plan; (2) in exchange for a substantial contribution and the good and valuable
consideration provided by the Released Parties that is important to the success of the Plan;
(3) a good faith settlement and compromise of the Claims released by the releases herein;
(4) in the best interests of the Debtors and all Holders of Claims and Interests; (5) fair,
equitable and reasonable; (6) given and made after reasonable investigation by the Debtors
and after due notice and opportunity for hearing; and (7) a bar to any of the Debtors
asserting any Claim or Cause of Action released by the releases herein against any of the
Released Parties.

RELEASES BY RELEASING PARTIES

Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or the
Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party
is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged by each Releasing Party from any and all Claims and Causes
of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Entity would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the capital structure,
management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or
among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
                                             6
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 18 18 of 82
                                                                   of 82



the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Plan Sponsor Agreement, the Restructuring Stipulation, the Disclosure
Statement, the Plan, the Restructuring Transaction, or any other contract, instrument,
release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) relating to any of the foregoing or created
or entered into in connection with the RSA, the Plan Sponsor Transaction, the Restructuring
Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or any
other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the issuance or distribution of
securities or other property pursuant to the Plan or any other related agreement, or upon
any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which
includes by reference each of the related provisions and definitions contained herein, and
further, shall constitute the Bankruptcy Court’s finding that the releases herein are:
(1) essential to the Confirmation of the Plan; (2) in exchange for a substantial contribution
and the good and valuable consideration provided by the Released Parties that is important
to the success of the Plan; (3) a good faith settlement and compromise of the Claims released
by the Releasing Parties; (4) in the best interests of the Debtors and all Holders of Claims
and Interests; (5) fair, equitable and reasonable; (6) given and made after due notice and
opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any Claim or
Cause of Action released by the releases herein against any of the Released Parties.

RELEASE OF LIENS

Except as otherwise specifically provided in the Plan, the Plan Sponsor Agreement or in any
contract, instrument, release, or other agreement or document created pursuant to the Plan
(including the terms of the RBL Contingent Value Rights, the RBL Contingent Value Rights
Memorandum, the Term Loan Contingent Value Rights, the Term Loan Contingent Value
Rights Agreement, and the Term Loan Contingent Value Rights Memorandum), on
the Effective Date and concurrently with the applicable distributions made pursuant to the
Plan and the Plan Sponsor Agreement, all mortgages, deeds of trust, Liens, pledges, or other
                                             7
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 19 19 of 82
                                                                    of 82



security interests against any property, assets, or interests of the Estates shall be fully
released, settled, compromised, and discharged, and all of the right, title, and interest of any
Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Plan Sponsor (or the Acquired Debtor, as applicable) without any further
approval or order of the Bankruptcy Court and without any action or Filing being required
to be made by the Debtors. Any Holder of a Secured Claim (including any applicable agents
for such Holder) shall be authorized and directed to release any collateral or property of any
Debtor (including any cash collateral and possessory collateral) held by such Holder (and
any applicable agents), and to take such actions as may be reasonably requested by the
Debtors or the Plan Sponsor to evidence the release of such Lien, including the execution,
delivery and filing or recordation of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial or local agency or department
shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens. In addition, the RBL Facility Agent and the Term Loan Agent
shall execute and deliver all documents reasonably requested by the Debtors, the Plan
Administrator or the Plan Sponsor to evidence the release of such mortgages, deeds of trust,
Liens, pledges, and other security interests and shall authorize the Debtors to file UCC-3
termination statements (to the extent applicable) with respect thereto.

EXCULPATION

Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur
any liability for, and each Exculpated Party is hereby released and exculpated from any
Claims or Cause of Action for, any claim related to any act or omission in connection with,
relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
dissemination, negotiation, or filing of the RSA and related prepetition transactions
(including the RBL Facility), the Disclosure Statement, the Plan, the Plan Supplement, the
Restructuring Stipulation, the Plan Sponsor Transaction and any actions taken to effectuate
the Plan, or any Restructuring Transaction, contract, instrument, release or other agreement
or document (including any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document or other agreement contemplated by the Plan or the reliance
by any Releasing Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into before or during the Chapter 11 Cases, any preference, fraudulent
transfer, or other avoidance claim arising pursuant to chapter 5 of the Bankruptcy Code or
other applicable law, in connection with the Disclosure Statement or the Plan, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of
securities pursuant to the Plan, or the distribution of property, assets, and interest under the
Plan or any other related agreement, or upon any other related act or omission, transaction,
agreement, event or other occurrence taking place on or before the Effective Date, except for
claims related to any act or omission that is determined in a Final Order to have constituted
actual fraud or gross negligence, but in all respects the Exculpated Parties shall be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan
and, therefore, are not, and on account of such distributions shall not be, liable at any time
                                               8
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 20 20 of 82
                                                                    of 82



for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

INJUNCTION

Except as otherwise expressly provided in the Plan or for distributions required to be paid
or delivered pursuant to the Plan or the Confirmation Order, all Entities that have held,
hold, or may hold Claims or Interests that have been released pursuant to the Plan shall be
discharged pursuant to the Plan, or are subject to exculpation pursuant to the Plan, are
permanently enjoined, from and after the Effective Date, from taking any of the following
actions against, as applicable, the Debtors, the Released Parties, or the Exculpated Parties
(to the extent of the exculpation provided pursuant to the Plan with respect to the Exculpated
Parties): (i) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such Claims or Interests;
(ii) enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against such Entities or the property or interest in property or the
Estates of such Entities on account of or in connection with or with respect to any such
Claims or Interests; (iv) asserting any right of setoff, subrogation, or recoupment of any kind
against any obligation due from such Entities or against the property or interest in property
of such Entities on account of or in connection with or with respect to any such Claims or
Interests unless such Entity has timely asserted such setoff right in a document Filed with
the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication
of a Claim or Interest or otherwise that such Entity asserts, has, or intends to preserve any
right of setoff pursuant to applicable law or otherwise; and (v) commencing or continuing in
any manner any action or other proceeding of any kind on account of or in connection with
or with respect to any such Claims or Interests released or settled pursuant to the Plan.
       Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals,
and direct and indirect Affiliates shall be enjoined from taking any actions to interfere with
the implementation or Consummation of the Plan. Except as otherwise set forth in the
Confirmation Order, each Holder of an Allowed Claim or Allowed Interest, as applicable,
by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim,
as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in Article IX.G of the Plan.

                                   Plan Sponsor Transaction

        As described in greater detail in the Disclosure Statement, the primary purpose of the Plan
is to implement a transaction, pursuant to which San Juan Offshore, LLC (the “Plan Sponsor”) (or
a designee thereof) shall acquire the business enterprise of the Debtors, including substantially of
the the assets of the Debtors, in exchange for the consideration to be distributed to the Estates of
the Debtors under the Plan (the “Plan Sponsor Transaction”). Pursuant to the Plan Sponsor
Agreement, the sale of the assets to the Plan Sponsor shall be free and clear of all claims,
encumbrances or liabilities other than the Assumed Liabilities and permitted encumbrances in

                                                 9
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 21 21 of 82
                                                                    of 82



accordance with section 363(f) of the Bankruptcy Code. Any party or Entity who fails to timely
file an Objection on or before the Confirmation Objection Deadline in accordance with the
procedures above will be forever barred from asserting any Objection to the Plan or Plan Sponsor
Transaction, including with respect to the transfer of the transferred assets of the Debtors free and
clear of all claims, encumbrances or liabilities other than the Assumed Liabilities and permitted
encumbrances.

    Hearing on Confirmation of the Plan and the Adequacy of the Disclosure Statement

       The hearing to consider the adequacy of the Disclosure Statement, any objections thereto,
confirmation of the Plan, any objections thereto, any objections to the proposed assumption of
Executory Contracts and Unexpired Leases, and any other matter that may properly come before
the Bankruptcy Court (the “Combined Hearing”) will be held before the Honorable Marvin Isgur,
courtroom 404, of the United States Bankruptcy Court, Houston Division, 515 Rusk Street,
Houston, Texas 77002, on September 25, 2020, at [●]:[●] [a/p].m., prevailing Central Time.
Please be advised that the Combined Hearing may be continued from time to time by the
Bankruptcy Court or the Debtors without further notice other than by such adjournment being
announced in open court or by a notice of adjournment filed with the Bankruptcy Court.

                  Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan, all Executory Contracts
and Unexpired Leases not otherwise assumed, assumed and assigned, or rejected will be deemed
assumed and assigned to the Plan Sponsor (or, if applicable, assumed by the Acquired Debtors),
in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those that: (1) are identified on the schedule of Rejected Contracts and Leases;
(2) have previously expired or terminated pursuant to their own terms; (3) have been previously
assumed, assumed and assigned, or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or
requested effective date of rejection that is after the Effective Date. Except as otherwise provided
in the Plan or agreed to by the Debtors and the applicable counterparty, each Assumed Contract
and Lease shall include all modifications, amendments, supplements, restatements, or other
agreements related thereto, and all rights related thereto, if any, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
validity, priority, or amount of any Claims that may arise in connection therewith. The RSA, the
Restructuring Stipulation, and the Plan Sponsor Agreement (including the Term Loan Contingent
Value Rights Agreement), shall be deemed assumed by the Debtors upon entry of the Confirmation
Order.

       Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, or rejections of the Executory Contracts
or Unexpired Leases as set forth in the Plan, the schedule of Assumed Contract and Leases, or the
schedule of Rejected Contracts and Leases, pursuant to sections 365 and 1123 of the Bankruptcy
Code. Except as otherwise specifically set forth in the Plan, assumptions, assumptions and

                                                 10
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 22 22 of 82
                                                                    of 82



assignments or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Assumed Contract and Lease shall re-vest in and be fully
enforceable by the Plan Sponsor (or, if applicable, the Acquired Debtors), except as such terms
may have been modified by the provisions of the Plan or any order of the Bankruptcy Court
authorizing and providing for its assumption. Any motions to assume or assume and assign
Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to
approval by a Final Order on or after the Effective Date but may be withdrawn, settled, or
otherwise prosecuted by the Plan Sponsor.

        To the maximum extent permitted by law, to the extent any provision in any Assumed
Contract or Lease restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption or assumption and assignment of such Assumed Contract or Lease
(including any “change of control” provision or payment), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party
thereto to terminate such Assumed Contract or Lease or to exercise any other default-related rights
(or demands for payment) with respect thereto. Notwithstanding anything to the contrary in
the Plan, the Debtors (at the direction of the Plan Sponsor) and the Plan Sponsor shall reserve the
right to alter, amend, modify, or supplement the schedule of Assumed Contracts and Leases and
the schedule of Rejected Contracts and Leases at any time up to forty-five (45) days after the
Effective Date.

           NOTICE TO HOLDERS OF CERTAIN CONTRACTS AND LEASES

     THE PLAN SPONSOR AGREEMENT CONTEMPLATES THE ASSIGNMENT TO
THE PLAN SPONSOR OF CERTAIN CONTRACTS AND LEASES THAT ARE NOT
EXECUTORY CONTRACTS OR UNEXPIRED LEASES (EACH, AN “ASSIGNED
CONTRACT”). IF ANY PARTY OBJECTS TO SUCH AN ASSIGNMENT, INCLUDING ANY
OBJECTION BASED ON ANY ALLEGED APPROVAL OR CONSENT RIGHT OR ANTI-
ASSIGNMENT PROVISION CONTAINED IN OR APPLICABLE TO ANY ASSIGNED
CONTRACT OR PURCHASED RIGHT OF WAY, THEN SUCH PARTY MUST FILE WITH
THE COURT, NO LATER THAN THE CONFIRMATION OBJECTION DEADLINE, AN
OBJECTION IDENTIFYING (A) ANY ASSIGNED CONTRACT, (B) THE BASIS FOR
OBJECTING TO THE ASSIGNMENT OF SUCH ASSIGNED CONTRACT OR OTHER
ASSETS, AND (C) ALL SUPPORTING DOCUMENTATION (EACH, AN “ASSIGNMENT
OBJECTION”).

     ANY PERSON FAILING TO TIMELY FILE AN ASSIGNMENT OBJECTION WILL
BE (A) FOREVER BARRED FROM OBJECTING TO THE TRANSFER, SALE,
ASSUMPTION, AND/OR ASSIGNMENT OF THE DEBTORS’ RIGHT, TITLE, AND
INTEREST IN, TO, AND UNDER THE ASSETS TO BE SOLD, ASSUMED, AND/OR
ASSIGNED IN CONNECTION WITH THE PLAN, FREE AND CLEAR OF ALL LIENS,
CLAIMS, INTERESTS, AND ENCUMBRANCES (OTHER THAN ASSUMED
OBLIGATIONS AND CERTAIN PERMITTED ENCUMBRANCES TO THE EXTENT SET
FORTH IN THE PLAN SPONSOR AGREEMENT), AND (B) DEEMED TO CONSENT TO
AND APPROVE THE TRANSFER, SALE, AND ASSUMPTION AND/OR ASSIGNMENT OF
THE COMPANY’S RIGHT, TITLE, AND INTEREST IN, TO, AND UNDER SUCH ASSET,
FREE AND CLEAR OF ALL LIENS, ENCUMBRANCES, CLAIMS, AND OTHER

                                                 11
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 23 23 of 82
                                                                  of 82



INTERESTS (OTHER THAN ASSUMED OBLIGATIONS AND CERTAIN PERMITTED
ENCUMBRANCES TO THE EXTENT SET FORTH IN THE PLAN SPONSOR AGREEMENT)
AND REGARDLESS OF WHETHER SUCH CONSENT MUST BE IN WRITING. ON THE
DATE HEREOF, THE DEBTORS WILL SEND THE COMBINED HEARING NOTICE TO
ALL COUNTERPARTIES TO THE ASSIGNED CONTRACTS AND PURCHASED RIGHTS
OF WAY, SETTING FORTH THE ASSIGNMENT OBJECTION PROCEDURES.

 NOTICE TO HOLDERS OF PURPORTED PREFERENTIAL PURCHASE RIGHTS

     THE PLAN SPONSOR AGREEMENT PROVIDES THAT THE DEBTORS WILL
TRANSFER THE ASSETS, INCLUDING ALL PURCHASED RIGHTS OF WAY, TO THE
PLAN SPONSOR FREE AND CLEAR OF ANY PREFERENTIAL PURCHASE RIGHTS,
RIGHTS OF FIRST REFUSAL, DRAG-ALONG RIGHTS, TAG-ALONG RIGHTS, AND
OTHER SIMILAR RIGHTS, IF ANY, THAT ARE APPLICABLE TO THE TRANSFER OF
THE ASSETS IN CONNECTION WITH THE PLAN (EACH, A “PREFERENTIAL
PURCHASE RIGHT”).

     IF ANY PURPORTED HOLDER OF A PREFERENTIAL PURCHASE RIGHT
OBJECTS TO SUCH TRANSFER, INCLUDING ON ACCOUNT OF ANY ALLEGED
PREFERENTIAL PURCHASE RIGHT CONTAINED IN OR APPLICABLE TO ANY
ASSIGNED CONTRACT OR PURCHASED RIGHT OF WAY, THEN SUCH HOLDER MUST
FILE WITH THE COURT NO LATER THAN THE CONFIRMATION OBJECTION
DEADLINE, AN OBJECTION IDENTIFYING (A) THE ASSETS SUBJECT TO SUCH
PREFERENTIAL PURCHASE RIGHT(S), (B) THE APPLICABLE AGREEMENT,
DOCUMENT, OR STATUTE GIVING RISE TO SUCH PREFERENTIAL PURCHASE
RIGHT(S), AND (C) THE PORTION OF THE AGREEMENT, DOCUMENT OR STATUTE
GIVING RISE TO SUCH PREFERENTIAL PURCHASE RIGHT(S), AND INCLUDING ALL
SUPPORTING DOCUMENTATION (A “RIGHTS OBJECTION”).

     ANY PERSON FAILING TO TIMELY FILE A RIGHTS OBJECTION WILL BE
FOREVER BARRED FROM ASSERTING ANY ALLEGED PREFERENTIAL PURCHASE
RIGHTS WITH RESPECT TO THE PLAN. THE COMBINED HEARING NOTICE, WHICH
WILL BE SENT TO ALL KNOWN CREDITORS AND CONTRACT COUNTERPARTIES
AND PUBLISHED AS SET FORTH HEREIN, DISCLOSES THE RIGHTS OBJECTION
PROCEDURES.




                                      12
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 24 24 of 82
                                                                  of 82



Houston, Texas
August 21, 2020

Respectfully Submitted,


JACKSON WALKER L.L.P.                        KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Genevieve Graham (TX Bar No. 24085340)       Brian Schartz, P.C. (TX Bar No. 24099361)
Veronica A. Polnick (TX Bar No. 24079148)    609 Main Street
Victoria Argeroplos (TX Bar No. 24105799)    Houston, Texas 77002
1401 McKinney Street, Suite 1900             Telephone:      (713) 836-3600
Houston, Texas 77010                         Facsimile:      (713) 836-3601
Telephone:     (713) 752-4200                Email:          brian.schartz@kirkland.com
Facsimile:     (713) 752-4221
Email:         mcavenaugh@jw.com             -and-
               ggraham@jw.com
               vpolnick@jw.com               Gregory F. Pesce (pro hac vice admission pending)
               vargeroplos@jw.com            300 North LaSalle Street
                                             Chicago, Illinois 60654
Proposed Co-Counsel to the Debtors           Telephone: (312) 862-2000
and Debtors in Possession                    Facsimile: (312) 862-2200
                                             Email:        gregory.pesce@kirkland.com

                                             Proposed Co-Counsel to the Debtors
                                             and Debtors in Possession
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 25 25 of 82
                                                              of 82



                               Exhibit 2

                      Proposed Publication Notice
              Case20-34215
             Case  20-34215Document
                            Document  44 Filed
                                    32-1  Filedonin08/21/20
                                                    TXSB onin08/21/20 Page
                                                              TXSB Page 26 26 of 82
                                                                           of 82



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                              )
    In re:                                                    )    Chapter 11
                                                              )
                                     1
    ARENA ENERGY, LP, et al.,                                 )    Case No. 20-34215 (MI)
                                                              )
                                         Debtors.             )    (Jointly Administered)
                                                              )

                 NOTICE OF COMMENCEMENT OF PREPACKAGED CHAPTER 11
              BANKRUPTCY CASES AND HEARING ON THE DISCLOSURE STATEMENT
              AND CONFIRMATION OF THE JOINT PREPACKAGED CHAPTER 11 PLAN


TO:           ALL HOLDERS OF CLAIMS, HOLDERS OF INTERESTS, AND PARTIES IN
              INTEREST IN THE ABOVE-CAPTIONED CHAPTER 11 CASES

         PLEASE TAKE NOTICE THAT on August 20, 2020 (the “Petition Date”), the above-captioned
debtors and debtors in possession (collectively, the “Debtors”) filed with the United States Bankruptcy
Court for the Southern District of Texas (the “Court”) the Debtors’ Joint Prepackaged Plan Pursuant to
Chapter 11 of the Bankruptcy Code [Docket No. 12] (as amended, supplemented, or otherwise modified
from time to time, the “Plan”) and the Disclosure Statement Relating to the Debtors’ Joint Prepackaged
Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 13] (as amended, supplemented, or
otherwise modified from time to time, including all exhibits and supplements thereto, the “Disclosure
Statement”) pursuant to sections 1125 and 1126(b) of title 11 of the United States Code, 11 U.S.C. §§ 101–
1532 (the “Bankruptcy Code”). Copies of the Plan and the Disclosure Statement may be obtained upon
request of the Debtors’ proposed counsel at the address specified below and are on file with the Clerk of
the Court, 515 Rusk Street, Houston, Texas 77002, where they are available for review between the hours
of 8:00 a.m. to 5:00 p.m., prevailing Central Time. The Plan and the Disclosure Statement also are available
for inspection on the Court’s website at www.txs.uscourts.gov
                                                      2
                                                                 or free of charge on the Debtors’
restructuring website at http://www.kccllc.net/Arena.

        PLEASE TAKE FURTHER NOTICE THAT a hearing (the “Combined Hearing”) will be held
before the Honorable Marvin Isgur, United States Bankruptcy Judge, in Room 404 of the United States
Bankruptcy Court, 515 Rusk Street Houston, Texas 77002, on September 25, 2020, at [●]:[●], [a/p].m.,

1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
      Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
      location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.

2
          Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan or
       the Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions
       contained in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the
       terms and provisions of the Plan or documents referred to therein. To the extent there is a discrepancy between
       the terms herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall
       govern and control. For a more detailed description of the Plan, please refer to the Disclosure Statement.



KE 69582077.8
        Case20-34215
       Case  20-34215Document
                      Document  44 Filed
                              32-1  Filedonin08/21/20
                                              TXSB onin08/21/20 Page
                                                        TXSB Page 27 27 of 82
                                                                     of 82



prevailing Central Time, to consider the adequacy of the Disclosure Statement, any objections to the
Disclosure Statement, confirmation of the Plan, any objections thereto, and any other matter that may
properly come before the Court. Please be advised that the Combined Hearing may be continued from time
to time by the Court or the Debtors without further notice other than by such adjournment being announced
in open court or by a notice of adjournment filed with the Court and served on other parties entitled to
notice.
         PLEASE TAKE FURTHER NOTICE THAT objections (each, an “Objection”), if any, to
the Plan or the Disclosure Statement must: (a) be in writing; (b) comply with the Federal Rules of
Bankruptcy Procedure and the Bankruptcy Local Rules for the Southern District of Texas; (c) state the
name and address of the objecting party and the amount and nature of the Claim or Interest beneficially
owned by such entity or individual; (d) state with particularity the legal and factual basis for such objections,
and, if practicable, a proposed modification to the Plan that would resolve such objections; and (e) be filed
with the Court (contemporaneously with a proof of service) and served so as to be actually received no
later than September 18, 2020, at 4:00 p.m., prevailing Central Time, by those parties who have a filed
a notice of appearance in the Debtors’ chapter 11 cases.

UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS
NOTICE IT MAY NOT BE CONSIDERED BY THE COURT.

             CRITICAL INFORMATION REGARDING OBJECTING TO THE PLAN

ARTICLE IX OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND INJUNCTION
PROVISIONS, AND ARTICLE IX.E CONTAINS A THIRD-PARTY RELEASE. THUS, YOU
ARE ADVISED TO REVIEW AND CONSIDER THE PLAN CAREFULLY BECAUSE YOUR
RIGHTS MIGHT BE AFFECTED THEREUNDER.

ALL HOLDERS OF CLAIMS OR INTERESTS THAT DO NOT (X) ELECT TO OPT OUT OF
THE RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN; OR (Y) TIMELY FILE WITH
THE BANKRUPTCY COURT ON THE DOCKET OF THE CHAPTER 11 CASES AN
OBJECTION TO THE RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN THAT IS
NOT RESOLVED BEFORE CONFIRMATION WILL BE DEEMED TO HAVE EXPRESSLY,
UNCONDITIONALLY, GENERALLY, INDIVIDUALLY, AND COLLECTIVELY CONSENTED
TO THE RELEASE AND DISCHARGE OF ALL CLAIMS AND CAUSES OF ACTION AGAINST
THE DEBTORS AND THE RELEASED PARTIES.

YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN, INCLUDING
THE DISCHARGE, RELEASE, EXCULPATION, AND INJUNCTION PROVISIONS IN
ARTICLE IX OF THE PLAN, AS YOUR RIGHTS MIGHT BE AFFECTED.

                                               *       *        *




                                                       2
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 28 28 of 82
                                                              of 82



                               Exhibit 3

         Proposed Notice of Non-Voting Status and Opt Out Form
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 29 29 of 82
                                                                       of 82



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
    In re:                                                   )    Chapter 11
                                                             )
                                       1
    ARENA ENERGY, LP, et al.,                                )    Case No. 20-34215 (MI)
                                                             )
                                       Debtors.              )    (Jointly Administered)
                                                             )

                NOTICE OF (I) NON-VOTING STATUS TO HOLDERS
               OR POTENTIAL HOLDERS OF UNIMPAIRED CLAIMS
               CONCLUSIVELY PRESUMED TO ACCEPT THE PLAN
             AND HOLDERS OR POTENTIAL HOLDERS OF IMPAIRED
            CLAIMS AND INTERESTS CONCLUSIVELY PRESUMED TO
           REJECT THE PLAN AND (II) OPPORTUNITY FOR HOLDERS OF
       CLAIMS AND INTERESTS TO OPT OUT OF THE THIRD-PARTY RELEASES


        PLEASE TAKE NOTICE THAT on August 20, 2020 (the “Petition Date”), Arena
Energy, LP and its affiliates, as debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”) filed with the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) the Debtors’ Joint Prepackaged Plan Pursuant to
Chapter 11 of the Bankruptcy Code [Docket No. 12] (as amended, supplemented, or otherwise
modified from time to time, the “Plan”) and the Disclosure Statement Relating to the Debtors’
Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 13] (as
amended, supplemented, or otherwise modified from time to time, including all exhibits and
supplements thereto, the “Disclosure Statement”) pursuant to sections 1125 and 1126(b) of title 11
of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). Copies of the Plan
and the Disclosure Statement may be obtained upon request of the Debtors’ proposed counsel at
the address specified below and are on file with the Clerk of the Court, 515 Rusk Street, Houston,
Texas 77002, where they are available for review between the hours of 8:00 a.m. to 5:00 p.m.,
prevailing Central Time. The Plan and the Disclosure Statement also are available for inspection
on the Court’s website at www.txs.uscourts.gov or free of charge on the Debtors’ restructuring
website at http://www.kccllc.net/Arena.2


1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
      Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
      location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.
2
         Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan or
      the Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions
      contained in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the
      terms and provisions of the Plan or documents referred to therein. To the extent there is a discrepancy between
      the terms herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall
      govern and control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 30 30 of 82
                                                                    of 82



        PLEASE TAKE FURTHER NOTICE THAT you are a Holder or potential Holder of a
Claim against or an Interest in the Debtors that, due to the nature and treatment of such Claim or
Interest under the Plan, is not entitled to vote on the Plan. Specifically, under the terms of
the Plan, a Holder of a Claim in a Class that is not Impaired under the Plan and, therefore,
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code or a Holder of a Claim or Interest in a Class that is Impaired under the Plan and, therefore,
conclusively presumed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy
Code, is not entitled to vote on the Plan.

        PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of
the Disclosure Statement, the Plan, or related documents at no additional cost, you should
contact Kurtzman Carson Consultants LLC, the Debtors’ solicitation agent in the chapter 11 cases
(the “Claims and Noticing Agent”), by: (a) visiting the Debtors’ restructuring website at
http://www.kccllc.net/Arena; (b) writing to Arena Ballot Processing, c/o Kurtzman Carson
Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, El Segundo, CA 90245; (c) emailing
ArenaInfo@kccllc.com and referencing “Arena” in the subject line; and/or (d) calling the Debtors’
restructuring hotline at (866) 506-4002 (domestic toll free) or (781) 575-2094 (international).

        All pleadings filed in the cases (a) may be inspected at the office of the Clerk of the
Bankruptcy Court for the Southern District of Texas, P.O. Box 61010, Houston, Texas 77208 and
(b) will also be available through the Court’s electronic case filing system at
https://www.txs.uscourts.gov/page/bankruptcy-court using a PACER password (to obtain a
PACER password, go to the PACER website at http://pacer.psc.uscourts.gov), or (c) on the website
maintained by the Claims and Noticing Agent at http://www.kccllc.net/Arena.

WHILE YOU ARE NOT ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN,
THE OPT-OUT FORM ATTACHED HERETO PROVIDES YOU WITH THE
SEPARATE OPTION TO NOT GRANT THE VOLUNTARY RELEASE CONTAINED IN
ARTICLE IX OF THE PLAN.

        PLEASE TAKE FURTHER NOTICE THAT the following provisions are included in
the Plan:

ARTICLE IX OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
INJUNCTION PROVISIONS, AND ARTICLE IX.E CONTAINS THE FOLLOWING
THIRD-PARTY RELEASE (THE “THIRD-PARTY RELEASE”):

        Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party
is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged by each Releasing Party from any and all Claims and Causes
of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Entity would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the capital structure,
management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or
                                              2
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 31 31 of 82
                                                                    of 82



among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Plan Sponsor Agreement, the Restructuring Stipulation, the Disclosure
Statement, the Plan, the Restructuring Transaction, or any other contract, instrument,
release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) relating to any of the foregoing or created
or entered into in connection with the RSA, the Plan Sponsor Transaction, the Restructuring
Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or any
other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the issuance or distribution of
securities or other property pursuant to the Plan or any other related agreement, or upon
any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which
includes by reference each of the related provisions and definitions contained herein, and
further, shall constitute the Bankruptcy Court’s finding that the releases herein are:
(1) essential to the Confirmation of the Plan; (2) in exchange for a substantial contribution
and the good and valuable consideration provided by the Released Parties that is important
to the success of the Plan; (3) a good faith settlement and compromise of the Claims released
by the Releasing Parties; (4) in the best interests of the Debtors and all Holders of Claims
and Interests; (5) fair, equitable and reasonable; (6) given and made after due notice and
opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any Claim or
Cause of Action released by the releases herein against any of the Released Parties.

Definitions Related to the Third-Party Release under the Plan:
“Released Parties” means, collectively, and in each case, n their respective capacities as such:
(a) each Consenting RBL Facility Lender and any other Holders of RBL Facility Claims that vote
to accept the Plan and do not opt out of the releases in the Plan; (b) the RBL Facility Agent; (c) the
Plan Sponsor; (d) each Consenting Term Loan Lender and any other Holders of Term Loan Claims
that vote to accept the Plan and do not opt out of the releases in the Plan; (e) the Term Loan Agent;
(f) each current and former Affiliate of each Entity in clause (a) through (e); (g) with respect to
each Entity in clause (a) through (f), each such Entity’s current and former equity holders (direct
and indirect), subsidiaries, officers, directors, managers, principals, members, employees, agents,
                                                  3
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 32 32 of 82
                                                                    of 82



advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals, each in their capacity as such; and (h) each
Debtor’s current and former Affiliates, and each Debtor’s and each such Affiliate’s current and
former equity holders (direct and indirect), subsidiaries, officers, directors, managers, principals,
members, employees, agents, advisory board members, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives, and other professionals, each in
their capacity as such.

“Releasing Parties” means, collectively, and in each case in their respective capacities as such:
(a) each Consenting RBL Facility Lender; (b) the RBL Facility Agent; (c) each Consenting Term
Loan Lender; (d) the Term Loan Agent; (e) each Holder of Claims and Interests that votes to accept
the Plan; (f) each Holder of Claims or Interests that (i) abstains from voting on the Plan and who
does not opt out of the releases in the Plan, (ii) votes to reject the Plan and who does not opt out
of the releases in the Plan, or (iii) is presumed to accept or deemed to reject the Plan and who does
not opt out of the releases in the Plan; (g) the Plan Sponsor; (h) each current and former Affiliate
of each Entity in clause (a) through (g); (i) with respect to each Entity in clause (a) through (h),
each such Entity’s current and former Affiliates, and each such Entity’s and each such Affiliate’s
current and former equity holders (direct and indirect), subsidiaries, officers, directors, managers,
principals, members, employees, agents, advisory board members, financial advisors, partners,
attorneys, accountants, investment bankers, consultants, representatives, and other professionals,
each in their capacity as such; and (j) each Debtor’s current and former Affiliates, and each
Debtor’s and each such Affiliate’s current and former equity holders (direct and indirect),
subsidiaries, officers, directors, managers, principals, members, employees, agents, advisory board
members, financial advisors, partners, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals, each in their capacity as such.

                                          *      *       *

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY
AND TO PROVIDE YOU WITH THE ATTACHED OPT-OUT FORM WITH RESPECT
TO THE THIRD-PARTY RELEASES INCLUDED IN THE PLAN. IF YOU HAVE
QUESTIONS REGARDING YOUR RIGHTS UNDER THE PLAN OR ANYTHING
STATED HEREIN OR THEREIN, YOU MAY CONTACT THE CLAIMS AND
NOTICING AGENT OR DEBTORS’ COUNSEL AT THE ADDRESSES PROVIDED
BELOW.




                                                 4
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 33 33 of 82
                                                                  of 82



Houston, Texas
August 21, 2020

Respectfully Submitted,


JACKSON WALKER L.L.P.                        KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Genevieve Graham (TX Bar No. 24085340)       Brian Schartz, P.C. (TX Bar No. 24099361)
Veronica A. Polnick (TX Bar No. 24079148)    609 Main Street
Victoria Argeroplos (TX Bar No. 24105799)    Houston, Texas 77002
1401 McKinney Street, Suite 1900             Telephone:      (713) 836-3600
Houston, Texas 77010                         Facsimile:      (713) 836-3601
Telephone:     (713) 752-4200                Email:          brian.schartz@kirkland.com
Facsimile:     (713) 752-4221
Email:         mcavenaugh@jw.com             -and-
               ggraham@jw.com
               vpolnick@jw.com               Gregory F. Pesce (pro hac vice admission pending)
               vargeroplos@jw.com            300 North LaSalle Street
                                             Chicago, Illinois 60654
Proposed Co-Counsel to the Debtors           Telephone: (312) 862-2000
and Debtors in Possession                    Facsimile: (312) 862-2200
                                             Email:        gregory.pesce@kirkland.com

                                             Proposed Co-Counsel to the Debtors
                                             and Debtors in Possession
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 34 34 of 82
                                                                    of 82




OPTIONAL: RELEASE OPT-OUT FORM

You are receiving this opt out form (the “Opt-Out Form”) because you are or may be a Holder of
a Claim or Interest that is not entitled to vote on the Debtors’ Joint Prepackaged Plan Pursuant to
Chapter 11 of the Bankruptcy Code (as amended, supplemented, or otherwise modified from time
to time, the “Plan”). Holders of Claims and Interests are deemed to grant the Third-Party Release
set forth in the Notice unless a Holder affirmatively opts out of the Third-Party Release or timely
objects to the Third-Party Release on or before September 18, 2020, at 4:00 p.m., prevailing
Central Time (the “Opt-Out Deadline”), and such objection is not resolved before confirmation.

If you believe you are a Holder of a Claim or Interest with respect to Arena Energy, LP or
its Debtor affiliates and choose to opt out of the Third-Party Release set forth in Article IX.E
of the Plan, you may submit your election to opt-out through one of the following methods:
(i) completing, signing, and returning the Opt-Out Form promptly via first class mail (or in
the enclosed reply envelope provided), overnight courier, or hand delivery to Arena Ballot
Processing, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway,
Suite 300, El Segundo, CA 90245, so that it is actually received by the Claims and Noticing
Agent prior to the Opt-Out Deadline or (ii) by completing, signing, and returning the Opt-
Out Form via the E-Ballot portal located at http://www.kccllc.net/Arena.
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 35 35 of 82
                                                                    of 82



                                         Opt-Out Form

To ensure that your hard copy Opt-Out Form is counted, clearly sign and return your Opt-Out
Form in the enclosed pre-addressed, pre-paid envelope or via first class mail, overnight courier, or
hand delivery to Arena Ballot Processing, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific
Coast Highway, Suite 300, El Segundo, CA 90245.

THIS OPT-OUT FORM MUST BE ACTUALLY RECEIVED BY KURTZMAN CARSON
CONSULTANTS LLC (THE “CLAIMS AND NOTICING AGENT”) BY THE OPT-OUT
DEADLINE OF SEPTEMBER 18, 2020, AT 4:00 P.M. PREVAILING CENTRAL TIME.
IF THE OPT-OUT FORM IS RECEIVED AFTER THE OPT-OUT DEADLINE, IT WILL
NOT BE COUNTED.

Item 1.        Amount of Claim.

The undersigned hereby certifies that, as of August 12, 2020 (the “Voting Record Date”), the
undersigned was the Holder of either (a) Class 1 Other Priority Claims, (b) Class 2 Other Secured
Claims, (c) Class 5 General Unsecured Claims, (d) Class 8 Section 510(b) Claims, (e) Class 9
Arena Energy, LP Interests, (f) Class 10 Arena Energy GP, LLC Interests, (g) Class 11 Arena
Energy 2020 GP, LLC Interests, or (h) Class 12 Sagamore Hill Holdings, LP Interests in the
following aggregate amount (insert amount in box below):


                   Class 1 Other Priority Claims Amount $

                                                OR

                   Class 2 Other Secured Claims Amount $

                                                OR

                Class 5 General Unsecured Claims Amount $

                                                OR

                  Class 8 Section 510(b) Claims Amount $

                                                OR

                       Class 9 Arena Energy, LP Interests

                                                OR

                    Class 10 Arena Energy GP, LLC Interests

                                                OR

                 Class 11 Arena Energy 2020 GP, LLC Interests



                                                 2
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 36 36 of 82
                                                                   of 82



                                            OR

                Class 12 Sagamore Hill Holdings, LP Interests


Item 2.       Important information regarding the Third-Party Release.

AS A HOLDER OF A CLAIM OR INTEREST, YOU ARE A “RELEASING PARTY” UNDER
THE PLAN AND ARE DEEMED TO PROVIDE THE THIRD-PARTY RELEASE
CONTAINED IN ARTICLE IX.E OF THE PLAN, AS SET FORTH BELOW. YOU MAY
CHECK THE BOX BELOW TO ELECT NOT TO GRANT THE RELEASE CONTAINED IN
ARTICLE IX.E OF THE PLAN. YOU WILL NOT BE CONSIDERED A “RELEASING
PARTY” UNDER THE PLAN ONLY IF (I) THE BANKRUPTCY COURT DETERMINES
THAT YOU HAVE THE RIGHT TO OPT OUT OF THE RELEASES AND (II) YOU
(A) CHECK THE BOX BELOW AND SUBMIT THE OPT-OUT FORM BY THE OPT-OUT
DEADLINE OR (B) TIMELY OBJECT TO THE RELEASES CONTAINED IN ARTICLE IX.E
OF THE PLAN AND SUCH OBJECTION IS NOT RESOLVED BEFORE CONFIRMATION.
THE ELECTION TO WITHHOLD CONSENT TO GRANT THE THIRD-PARTY RELEASE IS
AT YOUR OPTION.

                            By checking this box, you elect to opt out of the Third-Party
                            Releases.

Article IX.E of the Plan contains the following Third-Party Release:

        Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or
the Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party
is, and is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and
forever released and discharged by each Releasing Party from any and all Claims and Causes
of Action, whether known or unknown, foreseen or unforeseen, matured or unmatured,
existing or hereafter arising, in law, equity, contract, tort or otherwise, including any
derivative claims asserted on behalf of the Debtors, that such Entity would have been legally
entitled to assert (whether individually or collectively), based on or relating to, or in any
manner arising from, in whole or in part, the Debtors (including the capital structure,
management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or
among a Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction,
the Restructuring Transaction, the formulation, preparation, dissemination, negotiation, or
filing of the RSA, the Plan Sponsor Agreement, the Restructuring Stipulation, the Disclosure
Statement, the Plan, the Restructuring Transaction, or any other contract, instrument,
release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion) relating to any of the foregoing or created
or entered into in connection with the RSA, the Plan Sponsor Transaction, the Restructuring
Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or any



                                             3
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 37 37 of 82
                                                                    of 82



other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the issuance or distribution of
securities or other property pursuant to the Plan or any other related agreement, or upon
any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, any Definitive Document or any other document, instrument, or
agreement (including those set forth in the Plan Supplement) executed to implement
the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release any Claims or Causes of Action with respect to Todd Stone divorce litigation,
titled In the Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which
includes by reference each of the related provisions and definitions contained herein, and
further, shall constitute the Bankruptcy Court’s finding that the releases herein are:
(1) essential to the Confirmation of the Plan; (2) in exchange for a substantial contribution
and the good and valuable consideration provided by the Released Parties that is important
to the success of the Plan; (3) a good faith settlement and compromise of the Claims released
by the Releasing Parties; (4) in the best interests of the Debtors and all Holders of Claims
and Interests; (5) fair, equitable and reasonable; (6) given and made after due notice and
opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any Claim or
Cause of Action released by the releases herein against any of the Released Parties.

Definitions Related to the Debtor Release and the Third-Party Release:

UNDER THE PLAN “RELEASED PARTIES” MEANS, COLLECTIVELY, AND IN EACH
CASE, IN THEIR RESPECTIVE CAPACITIES AS SUCH: (A) EACH CONSENTING RBL
FACILITY LENDER AND ANY OTHER HOLDERS OF RBL FACILITY CLAIMS THAT
VOTE TO ACCEPT THE PLAN AND DO NOT OPT OUT OF THE RELEASES IN THE PLAN;
(B) THE RBL FACILITY AGENT; (C) THE PLAN SPONSOR; (D) EACH CONSENTING
TERM LOAN LENDER AND ANY OTHER HOLDERS OF TERM LOAN CLAIMS THAT
VOTE TO ACCEPT THE PLAN AND DO NOT OPT OUT OF THE RELEASES IN THE PLAN;
(E) THE TERM LOAN AGENT; (F) EACH CURRENT AND FORMER AFFILIATE OF EACH
ENTITY IN CLAUSE (A) THROUGH (E); (G) WITH RESPECT TO EACH ENTITY IN
CLAUSE (A) THROUGH (F), EACH SUCH ENTITY’S CURRENT AND FORMER EQUITY
HOLDERS (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS, DIRECTORS,
MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD
MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS,
INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH; AND (H) EACH DEBTOR’S
CURRENT AND FORMER AFFILIATES, AND EACH DEBTOR’S AND EACH SUCH


                                               4
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 38 38 of 82
                                                                  of 82



AFFILIATE’S CURRENT AND FORMER EQUITY HOLDERS (DIRECT AND INDIRECT),
SUBSIDIARIES, OFFICERS, DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS,
EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS,
PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS,
REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR CAPACITY AS
SUCH.

UNDER THE PLAN “RELEASING PARTIES” MEANS, COLLECTIVELY, AND IN EACH
CASE IN THEIR RESPECTIVE CAPACITIES AS SUCH: (A) EACH CONSENTING RBL
FACILITY LENDER; (B) THE RBL FACILITY AGENT; (C) EACH CONSENTING TERM
LOAN LENDER; (D) THE TERM LOAN AGENT; (E) EACH HOLDER OF CLAIMS AND
INTERESTS THAT VOTES TO ACCEPT THE PLAN; (F) EACH HOLDER OF CLAIMS OR
INTERESTS THAT (I) ABSTAINS FROM VOTING ON THE PLAN AND WHO DOES NOT
OPT OUT OF THE RELEASES IN THE PLAN, (II) VOTES TO REJECT THE PLAN AND
WHO DOES NOT OPT OUT OF THE RELEASES IN THE PLAN, OR (III) IS PRESUMED TO
ACCEPT OR DEEMED TO REJECT THE PLAN AND WHO DOES NOT OPT OUT OF THE
RELEASES IN THE PLAN; (G) THE PLAN SPONSOR; (H) EACH CURRENT AND FORMER
AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (G); (I) WITH RESPECT TO
EACH ENTITY IN CLAUSE (A) THROUGH (H), EACH SUCH ENTITY’S CURRENT AND
FORMER AFFILIATES, AND EACH SUCH ENTITY’S AND EACH SUCH AFFILIATE’S
CURRENT AND FORMER EQUITY HOLDERS (DIRECT AND INDIRECT),
SUBSIDIARIES, OFFICERS, DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS,
EMPLOYEES, AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS,
PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS,
REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR CAPACITY AS
SUCH; AND (J) EACH DEBTOR’S CURRENT AND FORMER AFFILIATES, AND EACH
DEBTOR’S AND EACH SUCH AFFILIATE’S CURRENT AND FORMER EQUITY
HOLDERS (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS, DIRECTORS,
MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD
MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS,
INVESTMENT BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER
PROFESSIONALS, EACH IN THEIR CAPACITY AS SUCH.




                                      5
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 39 39 of 82
                                                                   of 82



                         USE OF E-BALLOT OPT-OUT FORM

You may submit your Opt-Out Form by electronic, online transmission solely through the
E-Balloting   Portal    found     on    the    Debtors’      case    information    website
http://www.kccllc.net/Arena and following the directions set forth on the E-Balloting Portal
regarding submitting your Opt-Out Form as described more fully below.

   1. Please visit http://www.kccllc.net/Arena.

   2. Click on the “E-Ballot” section of the Debtors’ website.

   3. Follow the directions to submit your Opt-Out Form. If you choose to submit your
      Opt-Out Form via the E-Balloting Portal, you should not return a hard copy of your
      Opt-Out Form.


IMPORTANT NOTE: YOU WILL NEED THE FOLLOWING INFORMATION TO
RETRIEVE AND SUBMIT YOUR CUSTOMIZED OPT-OUT FORM:

UNIQUE E-BALLOT ID#

“E-BALLOTING” IS THE SOLE MANNER IN WHICH OPT-OUT FORMS MAY BE
DELIVERED VIA ELECTRONIC TRANSMISSION.

OPT-OUT FORMS SUBMITTED BY FACSIMILE OR EMAIL WILL NOT BE
COUNTED.




                                             6
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 40 40 of 82
                                                                       of 82



Item 3.         Certifications.

By signing this paper Opt-Out Form, the undersigned certifies:

    (a) that, as of the Voting Record Date, either: (i) the Entity is the Holder of the Claims
        or Interests set forth in Item 1; or (ii) the Entity is an authorized signatory for an
        Entity that is a Holder of the Claims or Interests set forth in Item 1;

    (b) that the Holder has received a copy of the Notice of (I) Non-Voting Status to Holders
        or Potential Holders of Unimpaired Claims Conclusively Presumed to Accept
        the Plan and Holders or Potential Holders of Impaired Claims or Interests
        Conclusively Presumed to Reject the Plan and (II) Opportunity for Holders of
        Claims and Interests to Opt Out of the Third-Party Releases and that this Opt-Out
        Form is submitted pursuant to the terms and conditions set forth therein;

    (c) that the Entity has submitted the same respective election concerning the releases
        with respect to all Claims or Interests in a single Class set forth in Item 1; and

    (d) that no other Opt-Out Form with respect to the amount(s) of Claims or Interests
        identified in Item 1 have been submitted or, if any other Opt-Out Forms have been
        submitted with respect to such Claims or Interests, then any such earlier Opt-Out
        Forms are hereby revoked.

Name of Holder:
                                                      (Print or Type)
Signature:
Name of
Signatory:
                                                  (If other than Holder)
Title:
Address:




Telephone
Number:
Email:
Date Completed:




                                                  7
    Case20-34215
   Case  20-34215Document
                  Document  44 Filed
                          32-1  Filedonin08/21/20
                                          TXSB onin08/21/20 Page
                                                    TXSB Page 41 41 of 82
                                                                 of 82



IF YOU WISH TO OPT OUT, PLEASE COMPLETE, SIGN, AND DATE THIS OPT-
OUT FORM AND RETURN PROMPTLY VIA FIRST CLASS MAIL (OR IN THE
REPLY ENVELOPE PROVIDED), OVERNIGHT COURIER OR HAND DELIVERY
TO:
                          Arena Ballot Processing
                  c/o Kurtzman Carson Consultants LLC
                  222 N. Pacific Coast Highway, Suite 300
                          El Segundo, CA 90245


                               *     *      *




                                     8
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 42 42 of 82
                                                              of 82



                               Exhibit 4A

                    Class 3 RBL Facility Claims Ballot
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 43 43 of 82
                                                                       of 82



          BALLOT FOR VOTING ON THE DEBTORS’ JOINT PREPACKAGED PLAN
                                                                      1
      OF REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                             CLASS 3 HOLDERS OF RBL FACILITY CLAIMS

    IMPORTANT               PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED
    NOTE:                   INSTRUCTIONS FOR COMPLETING       THIS   CLASS   3  BALLOT
                            (THE “BALLOT”) AND THE DEBTORS’ JOINT PREPACKAGED PLAN (AS
                            AMENDED, SUPPLEMENTED, OR OTHERWISE MODIFIED FROM TIME TO
                            TIME, THE “PLAN”) INCLUDED WITH THIS BALLOT BEFORE
                            COMPLETING THIS BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON
                            THE PLAN, WHICH IS SUBJECT TO COURT APPROVAL AND WHICH
                            CONTEMPLATES A COMPREHENSIVE RESTRUCTURING TRANSACTION
                            UPON THE EMERGENCE OF ARENA ENERGY, LP (THE “COMPANY”) FROM
                            CHAPTER 11. THE COMPANY HAS NOT COMMENCED CHAPTER 11 CASES
                            AS OF THE DATE HEREOF.

    DEADLINE:                THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO
                             THAT IT IS ACTUALLY RECEIVED BY KURTZMAN CARSON
                             CONSULTANTS LLC (THE “CLAIMS AND NOTICING AGENT”) PRIOR TO
                             12:00 P.M. (PREVAILING CENTRAL TIME) ON AUGUST 28, 2020
                             (THE “VOTING DEADLINE”).

    QUESTIONS:               If you have any questions regarding this Ballot, the enclosed voting instructions, the
                             procedures for voting, or need to obtain additional solicitation materials, please
                             contact the Claims and Noticing Agent by emailing ArenaInfo@kccllc.com and
                             reference “Arena” in the subject line, or by calling (866) 506-4002 (domestic toll free)
                             or (781) 575-2094 (international).




1
    The anticipated debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
      identification number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP,
      LLC (7454); Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C.
      (7184). The location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands,
      Texas 77380.
         Case20-34215
        Case  20-34215Document
                       Document  44 Filed
                               32-1  Filedonin08/21/20
                                               TXSB onin08/21/20 Page
                                                         TXSB Page 44 44 of 82
                                                                      of 82




    NOTICE:                You have received this Ballot because the Company’s books and records indicate that
                           you are a Holder of an Allowed Claim2 in Class 3 (a “Voting Class,” and together with
                           Class 4, the “Voting Classes”) as of August 12, 2020 (the “Voting Record Date”) and
                           as set forth in Item 1 of this Ballot. Accordingly, you have the right to execute this
                           Ballot and to vote to accept or reject the Plan on account of those Class 3 RBL Facility
                           Claims.
                           This Ballot may not be used for any purpose other than for casting votes with respect
                           to the Plan and making certain certifications with respect to the Plan. If you believe
                           you have received this Ballot in error, or if you believe that you have received the
                           wrong Ballot, please contact the Claims and Noticing Agent immediately.
                           You should review the Plan before you vote. You may wish to seek legal advice
                           concerning the proposals related to the Plan.

    TRANSACTION            The Company is soliciting votes to accept or reject the Plan from Holders of Class 3
    BACKGROUND:            RBL Facility Claims. The Company may file for protection under title 11 of the
                           United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United
                           States Bankruptcy Court for the Southern District of Texas (the “Court”) and seek to
                           consummate the Restructuring Transactions through the chapter 11 bankruptcy
                           process and the Plan. The Company will file the Plan and the related disclosure
                           statement (as amended, supplemented, or otherwise modified from time to time,
                           the “Disclosure Statement”) with the Court on or shortly after the date of the filing of
                           the chapter 11 cases. A copy of the Plan and the Disclosure Statement was transmitted
                           with this Ballot. You should read the Plan and the Disclosure Statement carefully
                           prior to voting on the Plan. If you have Claims in more than one Voting Class, you
                           will receive a ballot for each Class in which you are entitled to vote. Once completed
                           and returned in accordance with the attached instructions, your vote on the Plan will
                           be counted as set forth herein. A Voting Class will accept the Plan if Holders of at
                           least two-thirds in amount and more than one-half in number of Claims in a Voting
                           Class votes to accept the Plan. The Court may confirm the Plan, which contemplates
                           effectuating the Restructuring Transactions, if the Plan otherwise satisfies the
                           requirements of section 1129 of the Bankruptcy Code, and the Plan then would be
                           binding on all Holders of Allowed Claims in the Voting Classes, among others.

    TREATMENT OF Subject to the terms and conditions of the Plan, you will receive the treatment
    YOUR CLAIMS: identified in Exhibit A.
                           For additional discussion of your treatment and rights under the Plan, please
                           read the Disclosure Statement and the Plan.




2
     Capitalized terms used but not defined herein have the meanings given to them in the Plan.



                                                         2
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 45 45 of 82
                                                                  of 82




VOTING — COMPLETE THIS SECTION
                The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was
ITEM 1:         the Holder of Class 3 RBL Facility Claims as set forth below. You may vote to accept or
PRINCIPAL
                reject the Plan. You must check the applicable box in the right-hand column below to
AMOUNT          “accept” or “reject” the Plan in order to have your vote counted.
OF
CLAIMS          Please note that you are voting all of your Class 3 RBL Facility Claims either to accept or
                reject the Plan. You may not split your vote. If you do not indicate that you either accept
                or reject the Plan by checking the applicable box below, your vote in Class 3 will not be
                counted. If you indicate that you both accept and reject the Plan for the Class 3 RBL
                Facility Claims by checking both boxes below, your vote in Class 3 will not be counted.
                The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                Accordingly, your vote cast below will be applied in the same manner and in the same
                amount against each applicable Debtor.

                The Holder of the Class 3 RBL Facility Claims set forth below votes to (please check one
                and only one box):

 Voting Class         Description               Amount                  Vote to Accept or Reject Plan

                                                                   ACCEPT (VOTE FOR) THE PLAN
Class 3           RBL Facility Claims       $
                                                                   REJECT (VOTE AGAINST) THE PLAN




                                                  3
   Case20-34215
  Case  20-34215Document
                 Document  44 Filed
                         32-1  Filedonin08/21/20
                                         TXSB onin08/21/20 Page
                                                   TXSB Page 46 46 of 82
                                                                of 82



ITEM 2:           Article IX.E of the Plan provides for a third-party release (the “Third-Party
OPTIONAL: OPT     Release”):
OUT OF RELEASE
INFORMATION       EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THE PLAN, THE
                  PLAN SPONSOR AGREEMENT, OR THE CONFIRMATION ORDER, ON
                  AND AFTER THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND
                  VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS
                  HEREBY CONFIRMED, EACH DEBTOR AND RELEASED PARTY IS,
                  AND IS DEEMED TO BE, HEREBY CONCLUSIVELY, ABSOLUTELY,
                  UNCONDITIONALLY, IRREVOCABLY AND FOREVER RELEASED
                  AND DISCHARGED BY EACH RELEASING PARTY FROM ANY AND
                  ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR
                  UNKNOWN, FORESEEN OR UNFORESEEN, MATURED OR
                  UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW,
                  EQUITY, CONTRACT, TORT OR OTHERWISE, INCLUDING ANY
                  DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE DEBTORS,
                  THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
                  ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED
                  ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN
                  WHOLE OR IN PART, THE DEBTORS (INCLUDING THE CAPITAL
                  STRUCTURE, MANAGEMENT, OWNERSHIP, OR OPERATIONS
                  THEREOF),    THE    DEBTORS’    IN-   OR    OUT-OF-COURT
                  RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS, ANY
                  INTERCOMPANY TRANSACTIONS BETWEEN OR AMONG A DEBTOR
                  AND ANOTHER DEBTOR, THE CHAPTER 11 CASES, THE PLAN
                  SPONSOR TRANSACTION, THE RESTRUCTURING TRANSACTION,
                  THE     FORMULATION,      PREPARATION,     DISSEMINATION,
                  NEGOTIATION, OR FILING OF THE RSA, THE PLAN SPONSOR
                  AGREEMENT,     THE    RESTRUCTURING    STIPULATION,  THE
                  DISCLOSURE STATEMENT, THE PLAN, THE RESTRUCTURING
                  TRANSACTION, OR ANY OTHER CONTRACT, INSTRUMENT,
                  RELEASE, OR OTHER AGREEMENT OR DOCUMENT (INCLUDING
                  ANY LEGAL OPINION REQUESTED BY ANY ENTITY REGARDING
                  ANY TRANSACTION, CONTRACT, INSTRUMENT, DOCUMENT OR
                  OTHER AGREEMENT CONTEMPLATED BY THE PLAN OR THE
                  RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
                  CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION)
                  RELATING TO ANY OF THE FOREGOING OR CREATED OR
                  ENTERED INTO IN CONNECTION WITH THE RSA, THE PLAN
                  SPONSOR TRANSACTION, THE RESTRUCTURING STIPULATION,
                  THE    DISCLOSURE    STATEMENT,    THE   PLAN,  OR   THE
                  RESTRUCTURING TRANSACTION, OR ANY OTHER ACTIONS TAKEN
                  TO EFFECTUATE THE PLAN, BEFORE OR DURING THE CHAPTER 11
                  CASES, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT OF
                  CONFIRMATION,     THE    PURSUIT    OF    CONSUMMATION,
                  THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
                  INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES OR
                  OTHER PROPERTY PURSUANT TO THE PLAN OR ANY OTHER
                  RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
                  OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
                  OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE
                  DATE.

                                        4
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 47 47 of 82
                                                              of 82



                NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
                FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
                ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR
                ENTITY UNDER THE PLAN, ANY RESTRUCTURING TRANSACTION,
                ANY DEFINITIVE DOCUMENT OR ANY OTHER DOCUMENT,
                INSTRUMENT, OR AGREEMENT (INCLUDING THOSE SET FORTH IN
                THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN.

                NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
                FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
                ANY CLAIMS OR CAUSES OF ACTION WITH RESPECT TO TODD
                STONE DIVORCE LITIGATION, TITLED IN THE MARRIAGE MATTER
                OF TODD AND JENNIFER STONE DC NO. 18-02-01705.

                ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
                BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY
                RULE 9019, OF THE RELEASES OF HOLDERS OF CLAIMS AND
                INTERESTS, WHICH INCLUDES BY REFERENCE EACH OF THE
                RELATED PROVISIONS AND DEFINITIONS CONTAINED HEREIN,
                AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S
                FINDING THAT THE RELEASES HEREIN ARE: (1) ESSENTIAL TO
                THE CONFIRMATION OF THE PLAN; (2) IN EXCHANGE FOR A
                SUBSTANTIAL CONTRIBUTION AND THE GOOD AND VALUABLE
                CONSIDERATION PROVIDED BY THE RELEASED PARTIES THAT IS
                IMPORTANT TO THE SUCCESS OF THE PLAN; (3) A GOOD FAITH
                SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
                THE RELEASING PARTIES; (4) IN THE BEST INTERESTS OF THE
                DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (5) FAIR,
                EQUITABLE AND REASONABLE; (6) GIVEN AND MADE AFTER DUE
                NOTICE AND OPPORTUNITY FOR HEARING; AND (7) A BAR TO ANY
                OF THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE
                OF ACTION RELEASED BY THE RELEASES HEREIN AGAINST ANY
                OF THE RELEASED PARTIES.

                IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

                UNDER THE PLAN, “RELEASING PARTIES” MEANS, COLLECTIVELY,
                AND IN EACH CASE IN THEIR RESPECTIVE CAPACITIES AS SUCH:
                (A) EACH CONSENTING RBL FACILITY LENDER; (B) THE RBL FACILITY
                AGENT; (C) EACH CONSENTING TERM LOAN LENDER; (D) THE TERM
                LOAN AGENT; (E) EACH HOLDER OF CLAIMS AND INTERESTS THAT
                VOTES TO ACCEPT THE PLAN; (F) EACH HOLDER OF CLAIMS OR
                INTERESTS THAT (I) ABSTAINS FROM VOTING ON THE PLAN AND WHO
                DOES NOT OPT OUT OF THE RELEASES IN THE PLAN, (II) VOTES TO
                REJECT THE PLAN AND WHO DOES NOT OPT OUT OF THE RELEASES IN
                THE PLAN, OR (III) IS PRESUMED TO ACCEPT OR DEEMED TO REJECT
                THE PLAN AND WHO DOES NOT OPT OUT OF THE RELEASES IN THE
                PLAN; (G) THE PLAN SPONSOR; (H) EACH CURRENT AND FORMER
                AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (G); (I) WITH
                RESPECT TO EACH ENTITY IN CLAUSE (A) THROUGH (H), EACH SUCH
                ENTITY’S CURRENT AND FORMER AFFILIATES, AND EACH SUCH
                ENTITY’S AND EACH SUCH AFFILIATE’S CURRENT AND FORMER
                EQUITY HOLDERS (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS,
                                  5
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 48 48 of 82
                                                              of 82



                DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES,
                AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS,
                PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS,
                CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS,
                EACH IN THEIR CAPACITY AS SUCH; AND (J) EACH DEBTOR’S
                CURRENT AND FORMER AFFILIATES, AND EACH DEBTOR’S AND EACH
                SUCH AFFILIATE’S CURRENT AND FORMER EQUITY HOLDERS
                (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS, DIRECTORS,
                MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
                ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS,
                ATTORNEYS,      ACCOUNTANTS,     INVESTMENT      BANKERS,
                CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS,
                EACH IN THEIR CAPACITY AS SUCH.

                AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
                PROVIDE THE RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN,
                AS SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE
                RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN ONLY IF YOU
                (A) CHECK THE BOX BELOW OR (B) TIMELY OBJECT TO THE
                RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN AND SUCH
                OBJECTION IS NOT RESOLVED BEFORE CONFIRMATION. THE
                ELECTION TO WITHHOLD CONSENT TO GRANT SUCH RELEASE IS AT
                YOUR OPTION. BY OPTING OUT OF THE RELEASES SET FORTH IN
                ARTICLE IX.E OF THE PLAN, YOU WILL FOREGO THE BENEFIT OF
                OBTAINING THE RELEASES SET FORTH IN ARTICLE IX OF THE PLAN IF
                YOU ARE A RELEASED PARTY IN CONNECTION THEREWITH.

                PLEASE TAKE NOTICE THAT IF YOU ARE PARTY TO THE
                RESTRUCTURING SUPPORT AND PLAN SPONSOR AGREEMENT, DATED
                AS OF AUGUST 19, 2020, YOU HAVE AGREED TO NOT OPT OUT OF THE
                RELEASES AND, ACCORDINGLY, YOU SHOULD NOT CHECK THE OPT
                OUT ELECTION.

                        The Holder of the Class 3 RBL Facility Claims elects to:



                                OPT OUT of the Third-Party Release




                                    6
    Case20-34215
   Case  20-34215Document
                  Document  44 Filed
                          32-1  Filedonin08/21/20
                                          TXSB onin08/21/20 Page
                                                    TXSB Page 49 49 of 82
                                                                 of 82



ITEM 3:
CERTIFICATION,     By signing this Ballot, the undersigned certifies to the Court and the Company:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the Holder
AND DELIVERY               of Class 3 RBL Facility Claims as set forth in Item 1; or (ii) the undersigned
INSTRUCTIONS               is an authorized signatory for an Entity that is the Holder of Class 3 RBL
                           Facility Claims in the Voting Class as set forth in Item 1;

                       (b) that the undersigned (or in the case of an authorized signatory, the Holder)
                           has received a copy of the Disclosure Statement and the Solicitation
                           Package and acknowledges that the solicitation is being made pursuant to
                           the terms and conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Class 3 RBL
                           Facility Claims; and

                       (d) that no other Ballots with respect to Class 3 RBL Facility Claims identified
                           in Item 1 have been cast or, if any other Ballots have been cast with respect
                           to such Class 3 RBL Facility Claims, then any such earlier Ballots voting
                           those Class 3 RBL Facility Claims are hereby revoked.




                                            7
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 50 50 of 82
                                                                   of 82




             BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION


Name of Holder:
                                               (Print or Type)
Signature:
Name of
Signatory:
                                            (If other than Holder)
Title:
Address:




Telephone
Number:
Email:
Date Completed:



PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE CLAIMS AND NOTICING AGENT PRIOR TO THE VOTING DEADLINE.

YOU MAY SUBMIT YOUR BALLOT ELECTRONICALLY BY SCANNING A SIGNED COPY
      OF YOUR BALLOT AND E-MAILING YOUR SCANNED BALLOT TO THE
                     FOLLOWING E-MAIL ADDRESS:

                               ArenaInfo@kccllc.com

PLEASE DIRECT ALL VOTING QUESTIONS TO THE CLAIMS AND NOTICING AGENT BY
   E-MAILING ARENAINFO@KCCLLC.COM AND REFERENCING “ARENA” IN THE
 SUBJECT LINE, OR CALLING (866) 506-4002 (DOMESTIC TOLL FREE) OR (781) 575-2094
                             (INTERNATIONAL).




                                        8
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 51 51 of 82
                                                                       of 82

                         Important Information Regarding Releases under the Plan:
                                                         3
The Plan includes the following release provisions:

Article IX.D: Releases by the Debtors

        Notwithstanding anything contained in the Plan, the Confirmation Order, or the Plan
Sponsor Agreement to the contrary, pursuant to section 1123(b) of the Bankruptcy Code, for good
and valuable consideration, the adequacy of which is hereby confirmed, on and after the Effective
Date, each Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally,
irrevocably, and forever released and discharged by the Debtors and their Estates, in each case on
behalf of themselves and their respective successors, assigns and representatives, and any and all
other Entities who may purport to assert any Claim or Cause of Action, directly or derivatively, by,
through, for, or because of the foregoing Entities, from any and all Claims and Causes of Action,
including any derivative claims asserted on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity, contract,
tort or otherwise, that the Debtors or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim against, or
Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or Interest in, a Debtor
or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors (including the capital structure, management,
ownership, or operation thereof), the RBL Facility, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance
Actions, intercompany transactions between or among a Debtor and another Debtor, the Chapter 11
Cases, the Plan Sponsor Transaction, the Restructuring Transaction, the formulation, preparation,
dissemination, negotiation, or filing of the RSA, the Disclosure Statement, the Plan, the Plan
Supplement, the Plan Sponsor Transaction, the Restructuring Transaction, or any other contract,
instrument, release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement contemplated
by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) related to any of the foregoing or created or entered into in connection with the
RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor Transaction, or the
Restructuring Transaction, or any other actions taken to effectuate the Plan, before or during the
Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities or other property pursuant to the Plan or any other related agreement, or
upon any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date. Notwithstanding the inclusion of any Released Parties as a
potential party to any Transferred Causes of Action (including, for each, Avoidance Actions), such
parties shall remain Released Parties.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, any Definitive Document or any other document, instrument, or agreement (including
those set forth in the Plan Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the


3
    The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan
      that may affect your rights. If there is any inconsistency between the provisions set forth herein and the Plan,
      the Plan governs. You should read the Plan before completing this Ballot.

                                                             9
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 52 52 of 82
                                                                    of 82

Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases herein, which includes by reference each of the related
provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that the releases herein are: (1) essential to the Confirmation of the Plan; (2) in exchange for
a substantial contribution and the good and valuable consideration provided by the Released Parties
that is important to the success of the Plan; (3) a good faith settlement and compromise of the Claims
released by the releases herein; (4) in the best interests of the Debtors and all Holders of Claims and
Interests; (5) fair, equitable and reasonable; (6) given and made after reasonable investigation by the
Debtors and after due notice and opportunity for hearing; and (7) a bar to any of the Debtors
asserting any Claim or Cause of Action released by the releases herein against any of the Released
Parties.

Article IX.E: Releases by Holders of Claims and Interests

        Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or the
Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever released and
discharged by each Releasing Party from any and all Claims and Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law,
equity, contract, tort or otherwise, including any derivative claims asserted on behalf of the Debtors,
that such Entity would have been legally entitled to assert (whether individually or collectively), based
on or relating to, or in any manner arising from, in whole or in part, the Debtors (including the capital
structure, management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or among a
Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction, the Restructuring
Transaction, the formulation, preparation, dissemination, negotiation, or filing of the RSA, the Plan
Sponsor Agreement, the Restructuring Stipulation, the Disclosure Statement, the Plan, the
Restructuring Transaction, or any other contract, instrument, release, or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) relating to any of the
foregoing or created or entered into in connection with the RSA, the Plan Sponsor Transaction, the
Restructuring Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or
any other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities or other property
pursuant to the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, any Definitive Document or any other document, instrument, or agreement (including
those set forth in the Plan Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the
Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which includes by
reference each of the related provisions and definitions contained herein, and further, shall constitute

                                                   10
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 53 53 of 82
                                                                    of 82

the Bankruptcy Court’s finding that the releases herein are: (1) essential to the Confirmation of the
Plan; (2) in exchange for a substantial contribution and the good and valuable consideration provided
by the Released Parties that is important to the success of the Plan; (3) a good faith settlement and
compromise of the Claims released by the Releasing Parties; (4) in the best interests of the Debtors
and all Holders of Claims and Interests; (5) fair, equitable and reasonable; (6) given and made after
due notice and opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any
Claim or Cause of Action released by the releases herein against any of the Released Parties.

Article IX.F: Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur
any liability for, and each Exculpated Party is hereby released and exculpated from any Claims or
Cause of Action for, any claim related to any act or omission in connection with, relating to, or arising
out of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing of
the RSA and related prepetition transactions (including the RBL Facility), the Disclosure Statement,
the Plan, the Plan Supplement, the Restructuring Stipulation, the Plan Sponsor Transaction and any
actions taken to effectuate the Plan, or any Restructuring Transaction, contract, instrument, release
or other agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document or other agreement contemplated by the Plan or the
reliance by any Releasing Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into before or during the Chapter 11 Cases, any preference, fraudulent transfer,
or other avoidance claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
law, in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution
of property, assets, and interest under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event or other occurrence taking place on or before
the Effective Date, except for claims related to any act or omission that is determined in a Final Order
to have constituted actual fraud or gross negligence, but in all respects the Exculpated Parties shall
be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Exculpated Parties have, and upon confirmation of the
Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for the violation
of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

Article IX.G: Injunction

         Except as otherwise expressly provided in the Plan or for distributions required to be paid or
delivered pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may
hold Claims or Interests that have been released pursuant to the Plan shall be discharged pursuant
to the Plan, or are subject to exculpation pursuant to the Plan, are permanently enjoined, from and
after the Effective Date, from taking any of the following actions against, as applicable, the Debtors,
the Released Parties, or the Exculpated Parties (to the extent of the exculpation provided pursuant
to the Plan with respect to the Exculpated Parties): (i) commencing or continuing in any manner any
action or other proceeding of any kind on account of or in connection with or with respect to any
such Claims or Interests; (ii) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against such Entities or the property or interest in property or the Estates
of such Entities on account of or in connection with or with respect to any such Claims or Interests;
(iv) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due
from such Entities or against the property or interest in property of such Entities on account of or in

                                                    11
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 54 54 of 82
                                                                    of 82

connection with or with respect to any such Claims or Interests unless such Entity has timely asserted
such setoff right in a document Filed with the Bankruptcy Court explicitly preserving such setoff,
and notwithstanding an indication of a Claim or Interest or otherwise that such Entity asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
(v) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such Claims or Interests released or settled pursuant
to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals, and direct
and indirect Affiliates shall be enjoined from taking any actions to interfere with the implementation
or Consummation of the Plan. Except as otherwise set forth in the Confirmation Order, each Holder
of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept,
distributions under or Reinstatement of such Claim, as applicable, pursuant to the Plan, shall be
deemed to have consented to the injunction provisions set forth in Article IX.G of the Plan.




                                                 12
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 55 55 of 82
                                                                   of 82



                      INSTRUCTIONS FOR COMPLETING THIS BALLOT



1.   This Ballot contains voting options with respect to the Plan.

2.   To ensure that your vote is counted, this Ballot must be properly completed, executed, and delivered
     by (if applicable) via e-mail to ArenaInfo@kccllc.com, so that this Ballot is ACTUALLY
     RECEIVED by the Claims and Noticing Agent on or before the Voting Deadline, 12:00 p.m.
     (prevailing Central Time) on August 28, 2020.

3.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with
     respect to the Plan, or is improperly signed and returned will NOT be counted unless the Company
     determines otherwise.

4.   To vote, you MUST deliver your completed Ballot (via e-mail) so that it is
     ACTUALLY RECEIVED by the Claims and Noticing Agent on or before the Voting Deadline by
     one of the methods described above. The Voting Deadline is 12:00 p.m. (prevailing Central Time)
     on August 28, 2020.

5.   Any Ballot received by the Claims and Noticing Agent after the Voting Deadline will not be counted
     with respect to acceptance or rejection of the Plan, as applicable, unless the Company determines
     otherwise. No Ballot may be withdrawn or modified after the Voting Deadline without the
     Company’s prior consent.

6.   Delivery of a Ballot reflecting your vote to the Claims and Noticing Agent will be deemed to have
     occurred only when the Claims and Noticing Agent actually receives your paper Ballot or e-mail
     attaching a scanned PDF copy of your executed Ballot. In all cases, you should allow sufficient
     time to assure timely delivery.

7.   If you deliver multiple Ballots to the Claims and Noticing Agent, ONLY the last properly executed
     Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior
     Ballot(s).

8.   You must vote all of your RBL Facility Claims in Class 3 either to accept or reject the Plan and may
     not split your vote. Further, if a Holder has multiple RBL Facility Claims in Class 3, the Company
     may direct the Claims and Noticing Agent to aggregate those Claims for the purpose of counting
     votes.

9.   This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an
     assertion or admission of a Claim or an Interest, in the Company’s chapter 11 cases.




                                                   13
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 56 56 of 82
                                                                       of 82



    10. You should not rely on any information, representations, or inducements made to obtain an
        acceptance of the Plan that are other than as set forth, or are inconsistent with, the information
        contained in the Disclosure Statement, the documents attached to or incorporated in the Disclosure
        Statement, and the Plan.
                                           4
    11. SIGN AND DATE your Ballot. In addition, please provide your name and mailing address if it is
        different from that set forth on the Ballot or if no address is preprinted on the Ballot. Any unsigned
        Ballot will not be valid; however, for the avoidance of doubt, the scanned signature included on an
        e-mailed Ballot will be deemed immediately legally valid and effective.

    12. If your Class 3 RBL Facility Claim is held in multiple accounts, you may receive more than one
        Ballot coded for each such account for which your Class 3 RBL Facility Claims are held. Each
        Ballot votes only your Class 3 RBL Facility Claims indicated on that Ballot. Accordingly, complete
        and return each Ballot you receive.



                             PLEASE DELIVER YOUR BALLOT PROMPTLY!

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, PLEASE CONTACT THE CLAIMS AND NOTICING AGENT BY EMAILING
ARENAINFO@KCCLLC.COM AND REFERENCE “ARENA” IN THE SUBJECT LINE, OR BY
CALLING (866) 506-4002 (DOMESTIC TOLL FREE) OR (781) 575-2094 (INTERNATIONAL).




4
    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or
       officer of a corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such
       capacity when signing and, if required or requested by the Claims and Noticing Agent, the Company,
       the Company’s proposed counsel, or the Court, must submit proper evidence to the requesting party of authority
       to so act on behalf of such Holder.



                                                          14
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 57 57 of 82
                                                                       of 82



                                                        Exhibit A

Subject to the terms and conditions of the Plan, you will receive the following treatment if the Plan is
               1
consummated:

                                          On the Effective Date, each Holder of an Allowed RBL Facility Claim
                                          shall receive, in full and final satisfaction of such Allowed RBL
    Class 3    RBL Facility Claims
                                          Facility Claim, its Pro Rata portion of (i) the Plan Sponsor Cash
                                          Amount and (ii) the RBL Contingent Value Rights.

For additional discussion of your treatment and rights under the Plan, please read the Disclosure
Statement and the Plan.




1
      This summary is qualified in its entirety by the terms of the Plan. In the event of inconsistency or conflict between
      this summary and the terms of the Plan, the terms of the Plan shall control and govern.
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 58 58 of 82
                                                              of 82



                              Exhibit 4B

                    Class 4 Term Loan Claims Ballot
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 59 59 of 82
                                                                       of 82



          BALLOT FOR VOTING ON THE DEBTORS’ JOINT PREPACKAGED PLAN
                                                                      1
      OF REORGANIZATION PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

                              CLASS 4 HOLDERS OF TERM LOAN CLAIMS

    IMPORTANT               PLEASE CAREFULLY READ AND FOLLOW THE ENCLOSED
    NOTE:                   INSTRUCTIONS FOR COMPLETING       THIS   CLASS   4  BALLOT
                            (THE “BALLOT”) AND THE DEBTORS’ JOINT PREPACKAGED PLAN (AS
                            AMENDED, SUPPLEMENTED, OR OTHERWISE MODIFIED FROM TIME TO
                            TIME, THE “PLAN”) INCLUDED WITH THIS BALLOT BEFORE
                            COMPLETING THIS BALLOT. THIS BALLOT PERMITS YOU TO VOTE ON
                            THE PLAN, WHICH IS SUBJECT TO COURT APPROVAL AND WHICH
                            CONTEMPLATES A COMPREHENSIVE RESTRUCTURING TRANSACTION
                            UPON THE EMERGENCE OF ARENA ENERGY, LP (THE “COMPANY”) FROM
                            CHAPTER 11. THE COMPANY HAS NOT COMMENCED CHAPTER 11 CASES
                            AS OF THE DATE HEREOF.

    DEADLINE:                THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO
                             THAT IT IS ACTUALLY RECEIVED BY KURTZMAN CARSON
                             CONSULTANTS LLC (THE “CLAIMS AND NOTICING AGENT”) PRIOR TO
                             12:00 P.M. (PREVAILING CENTRAL TIME) ON AUGUST 28, 2020
                             (THE “VOTING DEADLINE”).

    QUESTIONS:               If you have any questions regarding this Ballot, the enclosed voting instructions, the
                             procedures for voting, or need to obtain additional solicitation materials, please
                             contact the Claims and Noticing Agent by emailing ArenaInfo@kccllc.com and
                             reference “Arena” in the subject line, or by calling (866) 506-4002 (domestic toll free)
                             or (781) 575-2094 (international).




1
    The anticipated debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax
      identification number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP,
      LLC (7454); Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C.
      (7184). The location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands,
      Texas 77380.
         Case20-34215
        Case  20-34215Document
                       Document  44 Filed
                               32-1  Filedonin08/21/20
                                               TXSB onin08/21/20 Page
                                                         TXSB Page 60 60 of 82
                                                                      of 82




    NOTICE:                You have received this Ballot because the Company’s books and records indicate that
                           you are a Holder of an Allowed Claim2 in Class 4 (a “Voting Class,” and together with
                           Class 3, the “Voting Classes”) as of August 12, 2020 (the “Voting Record Date”) and
                           as set forth in Item 1 of this Ballot. Accordingly, you have the right to execute this
                           Ballot and to vote to accept or reject the Plan on account of those Class 4 Term Loan
                           Claims.
                           This Ballot may not be used for any purpose other than for casting votes with respect
                           to the Plan and making certain certifications with respect to the Plan. If you believe
                           you have received this Ballot in error, or if you believe that you have received the
                           wrong Ballot, please contact the Claims and Noticing Agent immediately.
                           You should review the Plan before you vote. You may wish to seek legal advice
                           concerning the proposals related to the Plan.

    TRANSACTION            The Company is soliciting votes to accept or reject the Plan from Holders of Class 4
    BACKGROUND:            Term Loan Claims. The Company may file for protection under title 11 of the United
                           States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States
                           Bankruptcy Court for the Southern District of Texas (the “Court”) and seek to
                           consummate the Restructuring Transactions through the chapter 11 bankruptcy
                           process and the Plan. The Company will file the Plan and the related disclosure
                           statement (as amended, supplemented, or otherwise modified from time to time,
                           the “Disclosure Statement”) with the Court on or shortly after the date of the filing of
                           the chapter 11 cases. A copy of the Plan and the Disclosure Statement was transmitted
                           with this Ballot. You should read the Plan and the Disclosure Statement carefully
                           prior to voting on the Plan. If you have Claims in more than one Voting Class, you
                           will receive a ballot for each Class in which you are entitled to vote. Once completed
                           and returned in accordance with the attached instructions, your vote on the Plan will
                           be counted as set forth herein. A Voting Class will accept the Plan if Holders of at
                           least two-thirds in amount and more than one-half in number of Claims in a Voting
                           Class votes to accept the Plan. The Court may confirm the Plan, which contemplates
                           effectuating the Restructuring Transactions, if the Plan otherwise satisfies the
                           requirements of section 1129 of the Bankruptcy Code, and the Plan then would be
                           binding on all Holders of Allowed Claims in the Voting Classes, among others.

    TREATMENT OF Subject to the terms and conditions of the Plan, you will receive the treatment
    YOUR CLAIMS: identified in Exhibit A.
                           For additional discussion of your treatment and rights under the Plan, please
                           read the Disclosure Statement and the Plan.




2
     Capitalized terms used but not defined herein have the meanings given to them in the Plan.



                                                         2
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 61 61 of 82
                                                                  of 82




VOTING — COMPLETE THIS SECTION
                The undersigned hereby certifies that, as of the Voting Record Date, the undersigned was
ITEM 1:         the Holder of Class 4 Term Loan Claims as set forth below. You may vote to accept or
PRINCIPAL
                reject the Plan. You must check the applicable box in the right-hand column below to
AMOUNT          “accept” or “reject” the Plan in order to have your vote counted.
OF
CLAIMS          Please note that you are voting all of your Class 4 Term Loan Claims either to accept or
                reject the Plan. You may not split your vote. If you do not indicate that you either accept
                or reject the Plan by checking the applicable box below, your vote in Class 4 will not be
                counted. If you indicate that you both accept and reject the Plan for the Class 4 Term Loan
                Claims by checking both boxes below, your vote in Class 4 will not be counted.
                The Plan, though proposed jointly, constitutes a separate Plan proposed by each Debtor.
                Accordingly, your vote cast below will be applied in the same manner and in the same
                amount against each applicable Debtor.

                The Holder of the Class 4 Term Loan Claims set forth below votes to (please check one
                and only one box):

 Voting Class         Description               Amount                  Vote to Accept or Reject Plan

                                                                   ACCEPT (VOTE FOR) THE PLAN
Class 4           Term Loan Claims          $
                                                                   REJECT (VOTE AGAINST) THE PLAN




                                                  3
   Case20-34215
  Case  20-34215Document
                 Document  44 Filed
                         32-1  Filedonin08/21/20
                                         TXSB onin08/21/20 Page
                                                   TXSB Page 62 62 of 82
                                                                of 82



ITEM 2:           Article IX.E of the Plan provides for a third-party release (the “Third-Party
OPTIONAL: OPT     Release”):
OUT OF RELEASE
INFORMATION       EXCEPT AS OTHERWISE EXPRESSLY SET FORTH IN THE PLAN, THE
                  PLAN SPONSOR AGREEMENT, OR THE CONFIRMATION ORDER, ON
                  AND AFTER THE EFFECTIVE DATE, IN EXCHANGE FOR GOOD AND
                  VALUABLE CONSIDERATION, THE ADEQUACY OF WHICH IS
                  HEREBY CONFIRMED, EACH DEBTOR AND RELEASED PARTY IS,
                  AND IS DEEMED TO BE, HEREBY CONCLUSIVELY, ABSOLUTELY,
                  UNCONDITIONALLY, IRREVOCABLY AND FOREVER RELEASED
                  AND DISCHARGED BY EACH RELEASING PARTY FROM ANY AND
                  ALL CLAIMS AND CAUSES OF ACTION, WHETHER KNOWN OR
                  UNKNOWN, FORESEEN OR UNFORESEEN, MATURED OR
                  UNMATURED, EXISTING OR HEREAFTER ARISING, IN LAW,
                  EQUITY, CONTRACT, TORT OR OTHERWISE, INCLUDING ANY
                  DERIVATIVE CLAIMS ASSERTED ON BEHALF OF THE DEBTORS,
                  THAT SUCH ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO
                  ASSERT (WHETHER INDIVIDUALLY OR COLLECTIVELY), BASED
                  ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN
                  WHOLE OR IN PART, THE DEBTORS (INCLUDING THE CAPITAL
                  STRUCTURE, MANAGEMENT, OWNERSHIP, OR OPERATIONS
                  THEREOF),    THE    DEBTORS’    IN-   OR    OUT-OF-COURT
                  RESTRUCTURING EFFORTS, ANY AVOIDANCE ACTIONS, ANY
                  INTERCOMPANY TRANSACTIONS BETWEEN OR AMONG A DEBTOR
                  AND ANOTHER DEBTOR, THE CHAPTER 11 CASES, THE PLAN
                  SPONSOR TRANSACTION, THE RESTRUCTURING TRANSACTION,
                  THE     FORMULATION,      PREPARATION,     DISSEMINATION,
                  NEGOTIATION, OR FILING OF THE RSA, THE PLAN SPONSOR
                  AGREEMENT,     THE    RESTRUCTURING    STIPULATION,  THE
                  DISCLOSURE STATEMENT, THE PLAN, THE RESTRUCTURING
                  TRANSACTION, OR ANY OTHER CONTRACT, INSTRUMENT,
                  RELEASE, OR OTHER AGREEMENT OR DOCUMENT (INCLUDING
                  ANY LEGAL OPINION REQUESTED BY ANY ENTITY REGARDING
                  ANY TRANSACTION, CONTRACT, INSTRUMENT, DOCUMENT OR
                  OTHER AGREEMENT CONTEMPLATED BY THE PLAN OR THE
                  RELIANCE BY ANY RELEASED PARTY ON THE PLAN OR THE
                  CONFIRMATION ORDER IN LIEU OF SUCH LEGAL OPINION)
                  RELATING TO ANY OF THE FOREGOING OR CREATED OR
                  ENTERED INTO IN CONNECTION WITH THE RSA, THE PLAN
                  SPONSOR TRANSACTION, THE RESTRUCTURING STIPULATION,
                  THE    DISCLOSURE    STATEMENT,    THE   PLAN,  OR   THE
                  RESTRUCTURING TRANSACTION, OR ANY OTHER ACTIONS TAKEN
                  TO EFFECTUATE THE PLAN, BEFORE OR DURING THE CHAPTER 11
                  CASES, THE FILING OF THE CHAPTER 11 CASES, THE PURSUIT OF
                  CONFIRMATION,     THE    PURSUIT    OF    CONSUMMATION,
                  THE ADMINISTRATION AND IMPLEMENTATION OF THE PLAN,
                  INCLUDING THE ISSUANCE OR DISTRIBUTION OF SECURITIES OR
                  OTHER PROPERTY PURSUANT TO THE PLAN OR ANY OTHER
                  RELATED AGREEMENT, OR UPON ANY OTHER RELATED ACT OR
                  OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
                  OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE
                  DATE.

                                        4
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 63 63 of 82
                                                              of 82



                NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
                FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
                ANY POST-EFFECTIVE DATE OBLIGATIONS OF ANY PARTY OR
                ENTITY UNDER THE PLAN, ANY RESTRUCTURING TRANSACTION,
                ANY DEFINITIVE DOCUMENT OR ANY OTHER DOCUMENT,
                INSTRUMENT, OR AGREEMENT (INCLUDING THOSE SET FORTH IN
                THE PLAN SUPPLEMENT) EXECUTED TO IMPLEMENT THE PLAN.

                NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
                FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE
                ANY CLAIMS OR CAUSES OF ACTION WITH RESPECT TO TODD
                STONE DIVORCE LITIGATION, TITLED IN THE MARRIAGE MATTER
                OF TODD AND JENNIFER STONE DC NO. 18-02-01705.

                ENTRY OF THE CONFIRMATION ORDER SHALL CONSTITUTE THE
                BANKRUPTCY COURT’S APPROVAL, PURSUANT TO BANKRUPTCY
                RULE 9019, OF THE RELEASES OF HOLDERS OF CLAIMS AND
                INTERESTS, WHICH INCLUDES BY REFERENCE EACH OF THE
                RELATED PROVISIONS AND DEFINITIONS CONTAINED HEREIN,
                AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S
                FINDING THAT THE RELEASES HEREIN ARE: (1) ESSENTIAL TO
                THE CONFIRMATION OF THE PLAN; (2) IN EXCHANGE FOR A
                SUBSTANTIAL CONTRIBUTION AND THE GOOD AND VALUABLE
                CONSIDERATION PROVIDED BY THE RELEASED PARTIES THAT IS
                IMPORTANT TO THE SUCCESS OF THE PLAN; (3) A GOOD FAITH
                SETTLEMENT AND COMPROMISE OF THE CLAIMS RELEASED BY
                THE RELEASING PARTIES; (4) IN THE BEST INTERESTS OF THE
                DEBTORS AND ALL HOLDERS OF CLAIMS AND INTERESTS; (5) FAIR,
                EQUITABLE AND REASONABLE; (6) GIVEN AND MADE AFTER DUE
                NOTICE AND OPPORTUNITY FOR HEARING; AND (7) A BAR TO ANY
                OF THE RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE
                OF ACTION RELEASED BY THE RELEASES HEREIN AGAINST ANY
                OF THE RELEASED PARTIES.

                IMPORTANT INFORMATION REGARDING THE THIRD-PARTY RELEASE:

                UNDER THE PLAN, “RELEASING PARTIES” MEANS, COLLECTIVELY,
                AND IN EACH CASE IN THEIR RESPECTIVE CAPACITIES AS SUCH:
                (A) EACH CONSENTING RBL FACILITY LENDER; (B) THE RBL FACILITY
                AGENT; (C) EACH CONSENTING TERM LOAN LENDER; (D) THE TERM
                LOAN AGENT; (E) EACH HOLDER OF CLAIMS AND INTERESTS THAT
                VOTES TO ACCEPT THE PLAN; (F) EACH HOLDER OF CLAIMS OR
                INTERESTS THAT (I) ABSTAINS FROM VOTING ON THE PLAN AND WHO
                DOES NOT OPT OUT OF THE RELEASES IN THE PLAN, (II) VOTES TO
                REJECT THE PLAN AND WHO DOES NOT OPT OUT OF THE RELEASES IN
                THE PLAN, OR (III) IS PRESUMED TO ACCEPT OR DEEMED TO REJECT
                THE PLAN AND WHO DOES NOT OPT OUT OF THE RELEASES IN THE
                PLAN; (G) THE PLAN SPONSOR; (H) EACH CURRENT AND FORMER
                AFFILIATE OF EACH ENTITY IN CLAUSE (A) THROUGH (G); (I) WITH
                RESPECT TO EACH ENTITY IN CLAUSE (A) THROUGH (H), EACH SUCH
                ENTITY’S CURRENT AND FORMER AFFILIATES, AND EACH SUCH
                ENTITY’S AND EACH SUCH AFFILIATE’S CURRENT AND FORMER
                EQUITY HOLDERS (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS,
                                  5
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 64 64 of 82
                                                              of 82



                DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES,
                AGENTS, ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS,
                PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS,
                CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS,
                EACH IN THEIR CAPACITY AS SUCH; AND (J) EACH DEBTOR’S
                CURRENT AND FORMER AFFILIATES, AND EACH DEBTOR’S AND EACH
                SUCH AFFILIATE’S CURRENT AND FORMER EQUITY HOLDERS
                (DIRECT AND INDIRECT), SUBSIDIARIES, OFFICERS, DIRECTORS,
                MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS,
                ADVISORY BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS,
                ATTORNEYS,      ACCOUNTANTS,     INVESTMENT      BANKERS,
                CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS,
                EACH IN THEIR CAPACITY AS SUCH.

                AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO
                PROVIDE THE RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN,
                AS SET FORTH ABOVE. YOU MAY ELECT NOT TO GRANT THE
                RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN ONLY IF YOU
                (A) CHECK THE BOX BELOW OR (B) TIMELY OBJECT TO THE
                RELEASES CONTAINED IN ARTICLE IX.E OF THE PLAN AND SUCH
                OBJECTION IS NOT RESOLVED BEFORE CONFIRMATION. THE
                ELECTION TO WITHHOLD CONSENT TO GRANT SUCH RELEASE IS AT
                YOUR OPTION. BY OPTING OUT OF THE RELEASES SET FORTH IN
                ARTICLE IX.E OF THE PLAN, YOU WILL FOREGO THE BENEFIT OF
                OBTAINING THE RELEASES SET FORTH IN ARTICLE IX OF THE PLAN IF
                YOU ARE A RELEASED PARTY IN CONNECTION THEREWITH.

                         The Holder of the Class 4 Term Loan Claims elects to:



                                OPT OUT of the Third-Party Release




                                    6
    Case20-34215
   Case  20-34215Document
                  Document  44 Filed
                          32-1  Filedonin08/21/20
                                          TXSB onin08/21/20 Page
                                                    TXSB Page 65 65 of 82
                                                                 of 82



ITEM 3:
CERTIFICATION,     By signing this Ballot, the undersigned certifies to the Court and the Company:
BALLOT
COMPLETION,            (a) that, as of the Voting Record Date, either: (i) the undersigned is the Holder
AND DELIVERY               of Class 4 Term Loan Claims as set forth in Item 1; or (ii) the undersigned
INSTRUCTIONS               is an authorized signatory for an Entity that is the Holder of Class 4 Term
                           Loan Claims in the Voting Class as set forth in Item 1;

                       (b) that the undersigned (or in the case of an authorized signatory, the Holder)
                           has received a copy of the Disclosure Statement and the Solicitation
                           Package and acknowledges that the solicitation is being made pursuant to
                           the terms and conditions set forth therein;

                       (c) that the undersigned has cast the same vote with respect to all Class 4 Term
                           Loan Claims; and

                       (d) that no other Ballots with respect to Class 4 Term Loan Claims identified
                           in Item 1 have been cast or, if any other Ballots have been cast with respect
                           to such Class 4 Term Loan Claims, then any such earlier Ballots voting
                           those Class 4 Term Loan Claims are hereby revoked.




                                            7
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 66 66 of 82
                                                                   of 82




             BALLOT COMPLETION INFORMATION — COMPLETE THIS SECTION


Name of Holder:
                                               (Print or Type)
Signature:
Name of
Signatory:
                                            (If other than Holder)
Title:
Address:




Telephone
Number:
Email:
Date Completed:



PLEASE COMPLETE, SIGN, AND DATE THIS BALLOT AND RETURN IT PROMPTLY. THIS
BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO THAT IT IS ACTUALLY
RECEIVED BY THE CLAIMS AND NOTICING AGENT PRIOR TO THE VOTING DEADLINE.

YOU MAY SUBMIT YOUR BALLOT ELECTRONICALLY BY SCANNING A SIGNED COPY
      OF YOUR BALLOT AND E-MAILING YOUR SCANNED BALLOT TO THE
                     FOLLOWING E-MAIL ADDRESS:

                               ArenaInfo@kccllc.com

PLEASE DIRECT ALL VOTING QUESTIONS TO THE CLAIMS AND NOTICING AGENT BY
   E-MAILING ARENAINFO@KCCLLC.COM AND REFERENCING “ARENA” IN THE
 SUBJECT LINE, OR CALLING (866) 506-4002 (DOMESTIC TOLL FREE) OR (781) 575-2094
                             (INTERNATIONAL).




                                        8
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 67 67 of 82
                                                                       of 82

                         Important Information Regarding Releases under the Plan:
                                                         3
The Plan includes the following release provisions:

Article IX.D: Releases by the Debtors

        Notwithstanding anything contained in the Plan, the Confirmation Order, or the Plan
Sponsor Agreement to the contrary, pursuant to section 1123(b) of the Bankruptcy Code, for good
and valuable consideration, the adequacy of which is hereby confirmed, on and after the Effective
Date, each Released Party is, and is deemed to be, hereby conclusively, absolutely, unconditionally,
irrevocably, and forever released and discharged by the Debtors and their Estates, in each case on
behalf of themselves and their respective successors, assigns and representatives, and any and all
other Entities who may purport to assert any Claim or Cause of Action, directly or derivatively, by,
through, for, or because of the foregoing Entities, from any and all Claims and Causes of Action,
including any derivative claims asserted on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law, equity, contract,
tort or otherwise, that the Debtors or their Estates would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim against, or
Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or Interest in, a Debtor
or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors (including the capital structure, management,
ownership, or operation thereof), the RBL Facility, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance
Actions, intercompany transactions between or among a Debtor and another Debtor, the Chapter 11
Cases, the Plan Sponsor Transaction, the Restructuring Transaction, the formulation, preparation,
dissemination, negotiation, or filing of the RSA, the Disclosure Statement, the Plan, the Plan
Supplement, the Plan Sponsor Transaction, the Restructuring Transaction, or any other contract,
instrument, release, or other agreement or document (including any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document or other agreement contemplated
by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of
such legal opinion) related to any of the foregoing or created or entered into in connection with the
RSA, the Disclosure Statement, the Plan, the Plan Supplement, the Plan Sponsor Transaction, or the
Restructuring Transaction, or any other actions taken to effectuate the Plan, before or during the
Chapter 11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance or
distribution of securities or other property pursuant to the Plan or any other related agreement, or
upon any other related act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date. Notwithstanding the inclusion of any Released Parties as a
potential party to any Transferred Causes of Action (including, for each, Avoidance Actions), such
parties shall remain Released Parties.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, any Definitive Document or any other document, instrument, or agreement (including
those set forth in the Plan Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the


3
    The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan
      that may affect your rights. If there is any inconsistency between the provisions set forth herein and the Plan,
      the Plan governs. You should read the Plan before completing this Ballot.

                                                             9
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 68 68 of 82
                                                                    of 82

Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases herein, which includes by reference each of the related
provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that the releases herein are: (1) essential to the Confirmation of the Plan; (2) in exchange for
a substantial contribution and the good and valuable consideration provided by the Released Parties
that is important to the success of the Plan; (3) a good faith settlement and compromise of the Claims
released by the releases herein; (4) in the best interests of the Debtors and all Holders of Claims and
Interests; (5) fair, equitable and reasonable; (6) given and made after reasonable investigation by the
Debtors and after due notice and opportunity for hearing; and (7) a bar to any of the Debtors
asserting any Claim or Cause of Action released by the releases herein against any of the Released
Parties.

Article IX.E: Releases by Holders of Claims and Interests

        Except as otherwise expressly set forth in the Plan, the Plan Sponsor Agreement, or the
Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Debtor and Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever released and
discharged by each Releasing Party from any and all Claims and Causes of Action, whether known
or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, in law,
equity, contract, tort or otherwise, including any derivative claims asserted on behalf of the Debtors,
that such Entity would have been legally entitled to assert (whether individually or collectively), based
on or relating to, or in any manner arising from, in whole or in part, the Debtors (including the capital
structure, management, ownership, or operations thereof), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, any intercompany transactions between or among a
Debtor and another Debtor, the Chapter 11 Cases, the Plan Sponsor Transaction, the Restructuring
Transaction, the formulation, preparation, dissemination, negotiation, or filing of the RSA, the Plan
Sponsor Agreement, the Restructuring Stipulation, the Disclosure Statement, the Plan, the
Restructuring Transaction, or any other contract, instrument, release, or other agreement or
document (including any legal opinion requested by any Entity regarding any transaction, contract,
instrument, document or other agreement contemplated by the Plan or the reliance by any Released
Party on the Plan or the Confirmation Order in lieu of such legal opinion) relating to any of the
foregoing or created or entered into in connection with the RSA, the Plan Sponsor Transaction, the
Restructuring Stipulation, the Disclosure Statement, the Plan, or the Restructuring Transaction, or
any other actions taken to effectuate the Plan, before or during the Chapter 11 Cases, the filing of
the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
and implementation of the Plan, including the issuance or distribution of securities or other property
pursuant to the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring
Transaction, any Definitive Document or any other document, instrument, or agreement (including
those set forth in the Plan Supplement) executed to implement the Plan.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any Claims or Causes of Action with respect to Todd Stone divorce litigation, titled In the
Marriage Matter of Todd and Jennifer Stone DC No. 18-02-01705.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases of Holders of Claims and Interests, which includes by
reference each of the related provisions and definitions contained herein, and further, shall constitute

                                                   10
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 69 69 of 82
                                                                    of 82

the Bankruptcy Court’s finding that the releases herein are: (1) essential to the Confirmation of the
Plan; (2) in exchange for a substantial contribution and the good and valuable consideration provided
by the Released Parties that is important to the success of the Plan; (3) a good faith settlement and
compromise of the Claims released by the Releasing Parties; (4) in the best interests of the Debtors
and all Holders of Claims and Interests; (5) fair, equitable and reasonable; (6) given and made after
due notice and opportunity for hearing; and (7) a bar to any of the Releasing Parties asserting any
Claim or Cause of Action released by the releases herein against any of the Released Parties.

Article IX.F: Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur
any liability for, and each Exculpated Party is hereby released and exculpated from any Claims or
Cause of Action for, any claim related to any act or omission in connection with, relating to, or arising
out of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, or filing of
the RSA and related prepetition transactions (including the RBL Facility), the Disclosure Statement,
the Plan, the Plan Supplement, the Restructuring Stipulation, the Plan Sponsor Transaction and any
actions taken to effectuate the Plan, or any Restructuring Transaction, contract, instrument, release
or other agreement or document (including any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document or other agreement contemplated by the Plan or the
reliance by any Releasing Party on the Plan or the Confirmation Order in lieu of such legal opinion)
created or entered into before or during the Chapter 11 Cases, any preference, fraudulent transfer,
or other avoidance claim arising pursuant to chapter 5 of the Bankruptcy Code or other applicable
law, in connection with the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of securities pursuant to the Plan, or the distribution
of property, assets, and interest under the Plan or any other related agreement, or upon any other
related act or omission, transaction, agreement, event or other occurrence taking place on or before
the Effective Date, except for claims related to any act or omission that is determined in a Final Order
to have constituted actual fraud or gross negligence, but in all respects the Exculpated Parties shall
be entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Exculpated Parties have, and upon confirmation of the
Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for the violation
of any applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

Article IX.G: Injunction

         Except as otherwise expressly provided in the Plan or for distributions required to be paid or
delivered pursuant to the Plan or the Confirmation Order, all Entities that have held, hold, or may
hold Claims or Interests that have been released pursuant to the Plan shall be discharged pursuant
to the Plan, or are subject to exculpation pursuant to the Plan, are permanently enjoined, from and
after the Effective Date, from taking any of the following actions against, as applicable, the Debtors,
the Released Parties, or the Exculpated Parties (to the extent of the exculpation provided pursuant
to the Plan with respect to the Exculpated Parties): (i) commencing or continuing in any manner any
action or other proceeding of any kind on account of or in connection with or with respect to any
such Claims or Interests; (ii) enforcing, attaching, collecting, or recovering by any manner or means
any judgment, award, decree, or order against such Entities on account of or in connection with or
with respect to any such Claims or Interests; (iii) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against such Entities or the property or interest in property or the Estates
of such Entities on account of or in connection with or with respect to any such Claims or Interests;
(iv) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due
from such Entities or against the property or interest in property of such Entities on account of or in

                                                    11
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 70 70 of 82
                                                                    of 82

connection with or with respect to any such Claims or Interests unless such Entity has timely asserted
such setoff right in a document Filed with the Bankruptcy Court explicitly preserving such setoff,
and notwithstanding an indication of a Claim or Interest or otherwise that such Entity asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; and
(v) commencing or continuing in any manner any action or other proceeding of any kind on account
of or in connection with or with respect to any such Claims or Interests released or settled pursuant
to the Plan.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals, and direct
and indirect Affiliates shall be enjoined from taking any actions to interfere with the implementation
or Consummation of the Plan. Except as otherwise set forth in the Confirmation Order, each Holder
of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept,
distributions under or Reinstatement of such Claim, as applicable, pursuant to the Plan, shall be
deemed to have consented to the injunction provisions set forth in Article IX.G of the Plan.




                                                 12
      Case20-34215
     Case  20-34215Document
                    Document  44 Filed
                            32-1  Filedonin08/21/20
                                            TXSB onin08/21/20 Page
                                                      TXSB Page 71 71 of 82
                                                                   of 82



                      INSTRUCTIONS FOR COMPLETING THIS BALLOT



1.   This Ballot contains voting options with respect to the Plan.

2.   To ensure that your vote is counted, this Ballot must be properly completed, executed, and delivered
     by (if applicable) via e-mail to ArenaInfo@kccllc.com, so that this Ballot is ACTUALLY
     RECEIVED by the Claims and Noticing Agent on or before the Voting Deadline, 12:00 p.m.
     (prevailing Central Time) on August 28, 2020.

3.   Any Ballot submitted that is incomplete or illegible, indicates unclear or inconsistent votes with
     respect to the Plan, or is improperly signed and returned will NOT be counted unless the Company
     determines otherwise.

4.   To vote, you MUST deliver your completed Ballot (via e-mail) so that it is
     ACTUALLY RECEIVED by the Claims and Noticing Agent on or before the Voting Deadline by
     one of the methods described above. The Voting Deadline is 12:00 p.m. (prevailing Central Time)
     on August 28, 2020.

5.   Any Ballot received by the Claims and Noticing Agent after the Voting Deadline will not be counted
     with respect to acceptance or rejection of the Plan, as applicable, unless the Company determines
     otherwise. No Ballot may be withdrawn or modified after the Voting Deadline without the
     Company’s prior consent.

6.   Delivery of a Ballot reflecting your vote to the Claims and Noticing Agent will be deemed to have
     occurred only when the Claims and Noticing Agent actually receives your paper Ballot or e-mail
     attaching a scanned PDF copy of your executed Ballot. In all cases, you should allow sufficient
     time to assure timely delivery.

7.   If you deliver multiple Ballots to the Claims and Noticing Agent, ONLY the last properly executed
     Ballot timely received will be deemed to reflect your intent and will supersede and revoke any prior
     Ballot(s).

8.   You must vote all of your Term Loan Claims in Class 4 either to accept or reject the Plan and may
     not split your vote. Further, if a Holder has multiple Term Loan Claims in Class 4, the Company
     may direct the Claims and Noticing Agent to aggregate those Claims for the purpose of counting
     votes.

9.   This Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or Interest, or an
     assertion or admission of a Claim or an Interest, in the Company’s chapter 11 cases.




                                                   13
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 72 72 of 82
                                                                       of 82



    10. You should not rely on any information, representations, or inducements made to obtain an
        acceptance of the Plan that are other than as set forth, or are inconsistent with, the information
        contained in the Disclosure Statement, the documents attached to or incorporated in the Disclosure
        Statement, and the Plan.
                                           4
    11. SIGN AND DATE your Ballot. In addition, please provide your name and mailing address if it is
        different from that set forth on the Ballot or if no address is preprinted on the Ballot. Any unsigned
        Ballot will not be valid; however, for the avoidance of doubt, the scanned signature included on an
        e-mailed Ballot will be deemed immediately legally valid and effective.

    12. If your Class 4 Term Loan Claim is held in multiple accounts, you may receive more than one Ballot
        coded for each such account for which your Class 4 Term Loan Claims are held. Each Ballot votes
        only your Class 4 Term Loan Claims indicated on that Ballot. Accordingly, complete and return
        each Ballot you receive.



                             PLEASE DELIVER YOUR BALLOT PROMPTLY!

IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING
PROCEDURES, PLEASE CONTACT THE CLAIMS AND NOTICING AGENT BY EMAILING
ARENAINFO@KCCLLC.COM AND REFERENCE “ARENA” IN THE SUBJECT LINE, OR BY
CALLING (866) 506-4002 (DOMESTIC TOLL FREE) OR (781) 575-2094 (INTERNATIONAL).




4
    If you are signing a Ballot in your capacity as a trustee, executor, administrator, guardian, attorney-in-fact, or
       officer of a corporation or otherwise acting in a fiduciary or representative capacity, you must indicate such
       capacity when signing and, if required or requested by the Claims and Noticing Agent, the Company,
       the Company’s proposed counsel, or the Court, must submit proper evidence to the requesting party of authority
       to so act on behalf of such Holder.



                                                          14
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 73 73 of 82
                                                                       of 82



                                                        Exhibit A

Subject to the terms and conditions of the Plan, you will receive the following treatment if the Plan is
               1
consummated:

                                          On the Effective Date, each Holder of an Allowed Term Loan Claim
                                          shall receive, in full and final satisfaction of such Allowed Term Loan
    Class 4    Term Loan Claims
                                          Claim, its Pro Rata portion of the Term Loan Contingent Value
                                          Rights.

For additional discussion of your treatment and rights under the Plan, please read the Disclosure
Statement and the Plan.




1
      This summary is qualified in its entirety by the terms of the Plan. In the event of inconsistency or conflict between
      this summary and the terms of the Plan, the terms of the Plan shall control and govern.
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 74 74 of 82
                                                              of 82



                               Exhibit 5

             Executory Contract and Unexpired Lease Notice
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 75 75 of 82
                                                                       of 82



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             )
In re:                                                       ) Chapter 11
                                                             )
                                      1
ARENA ENERGY, LP, et al.,                                    ) Case No. 20-34215 (MI)
                                                             )
                                                             ) (Jointly Administered)
                                      Debtors.               )
                                                             )

                    NOTICE TO CONTRACT AND LEASE COUNTERPARTIES


           NOTICE IS HEREBY GIVEN as follows:

        On August 20, 2020 (the “Petition Date”), Arena Energy, LP and certain of its affiliates,
as debtors and debtors in possession in the above-captioned chapter 11 cases (collectively,
the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for
the Southern District of Texas (the “Bankruptcy Court”). Contemporaneously therewith,
the Debtors filed the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy
Code [Docket No. 12] (as may be amended, modified, or supplemented from time to time and
including all exhibits and supplements thereto, the “Plan”) and the Disclosure Statement Relating
to the Debtors’ Joint Prepackaged Plan Pursuant to Chapter 11 of the Bankruptcy Code
[Docket No. 13] (as amended, supplemented, or otherwise modified from time to time, including
all exhibits and supplements thereto, the “Disclosure Statement”)2 pursuant to sections 1125 and
1126(b) of the Bankruptcy Code. Copies of the Plan and the Disclosure Statement: (a) are
available on the Debtors’ restructuring website, free of charge,                                    at
http://www.kccllc.net/Arena; (b) may be obtained upon request of the Debtors’ proposed counsel
at the address specified below; (c) are on file with the Clerk of the Bankruptcy Court, 4th Floor,
515 Rusk Street, Houston, Texas 77002, where they are available for review between the hours of


1
    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number, are: Arena Energy, LP (1436); Arena Energy 2020 GP, LLC (N/A); Arena Energy GP, LLC (7454);
      Arena Exploration, LLC (1947); Sagamore Hill Holdings, LP (8266); and Valiant Energy, L.L.C. (7184). The
      location of the debtors’ service address is: 2103 Research Forest Drive, Suite 400, The Woodlands, Texas 77380.

2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or
      Disclosure Statement, as applicable. The statements contained herein are summaries of the provisions contained
      in the Plan and Disclosure Statement and do not purport to be precise or complete statements of all the terms and
      provisions of the Plan or documents referred to therein. To the extent there is a discrepancy between the terms
      herein and the Plan or Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and
      control. For a more detailed description of the Plan, please refer to the Disclosure Statement.
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 76 76 of 82
                                                                    of 82



8:30 a.m. to 5:00 p.m., prevailing Central Time; and (d) are available for inspection for a fee on
the Bankruptcy Court’s website at www.txs.uscourts.gov.

        On the Effective Date, except as otherwise provided in the Plan, all Executory Contracts
and Unexpired Leases not otherwise assumed, assumed and assigned, or rejected will be deemed
assumed and assigned to the Plan Sponsor (or, if applicable, assumed by the Acquired Debtors),
in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those that: (1) are identified on the schedule of Rejected Contracts and Leases;
(2) have previously expired or terminated pursuant to their own terms; (3) have been previously
assumed, assumed and assigned, or rejected by the Debtors pursuant to a Final Order; (4) are the
subject of a motion to reject that is pending on the Effective Date; or (5) have an ordered or
requested effective date of rejection that is after the Effective Date. Except as otherwise provided
in the Plan or agreed to by the Debtors and the applicable counterparty, each Assumed Contract
and Lease shall include all modifications, amendments, supplements, restatements, or other
agreements related thereto, and all rights related thereto, if any, including all easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
validity, priority, or amount of any Claims that may arise in connection therewith. The RSA, the
Restructuring Stipulation, and the Plan Sponsor Agreement (including the Term Loan Contingent
Value Rights Agreement), shall be deemed assumed by the Debtors upon entry of the Confirmation
Order.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, or rejections of the Executory Contracts
or Unexpired Leases as set forth in the Plan, the schedule of Assumed Contract and Leases, or the
schedule of Rejected Contracts and Leases, pursuant to sections 365 and 1123 of the Bankruptcy
Code. Except as otherwise specifically set forth in the Plan, assumptions, assumptions and
assignments or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Assumed Contract and Lease shall re-vest in and be fully
enforceable by the Plan Sponsor (or, if applicable, the Acquired Debtors), except as such terms
may have been modified by the provisions of the Plan or any order of the Bankruptcy Court
authorizing and providing for its assumption. Any motions to assume or assume and assign
Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to
approval by a Final Order on or after the Effective Date but may be withdrawn, settled, or
otherwise prosecuted by the Plan Sponsor.

        To the maximum extent permitted by law, to the extent any provision in any Assumed
Contract or Lease restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption or assumption and assignment of such Assumed Contract or Lease
(including any “change of control” provision or payment), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party
thereto to terminate such Assumed Contract or Lease or to exercise any other default-related rights
(or demands for payment) with respect thereto. Notwithstanding anything to the contrary in
the Plan, the Debtors (at the direction of the Plan Sponsor) and the Plan Sponsor shall reserve the
right to alter, amend, modify, or supplement the schedule of Assumed Contracts and Leases and

                                                  2
          Case20-34215
         Case  20-34215Document
                        Document  44 Filed
                                32-1  Filedonin08/21/20
                                                TXSB onin08/21/20 Page
                                                          TXSB Page 77 77 of 82
                                                                       of 82



the schedule of Rejected Contracts and Leases after the Effective Date, subject to the terms of the
Plan.

        You are receiving this notice because you are a party to a contract or lease with the Debtors
that may be an Executory Contract or Unexpired Lease.3 Your rights may be affected by the
Plan. If you are a party to a contract or lease with the Debtors that may be an Executory Contract
or Unexpired Lease, then your contract or lease might be assumed and assigned to the Plan Sponsor
pursuant to the Plan. Any defaults under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, solely by payment of the Cure Cost by the Plan Sponsor or by an agreed-upon waiver or
discharge of the Cure Cost on the Effective Date or as soon as reasonably practicable thereafter or
on such other terms as the Debtors, the Plan Sponsor, and the counterparties to each such Executory
Contract or Unexpired Lease may otherwise agree.

         YOUR STATUS AS A COUNTERPARTY TO AN EXECUTORY CONTRACT
AND/OR AN UNEXPIRED LEASE DOES NOT IN AND OF ITSELF ENTITLE YOU TO
VOTE ON THE PLAN. Accordingly, this notice and the Confirmation Hearing Notice are being
sent to you for informational purposes only.

        The Debtors may assume or reject the Executory Contract(s) or Unexpired Lease(s)
identified on Exhibit 5A attached hereto (each such Executory Contract or Unexpired Lease, a
“365 Contract” and, collectively, the “365 Contracts”) to which you are a counterparty.

         The Debtors have conducted a review of their books and records and have determined that,
to the extent the Debtors determine to assume or assume and assign your 365 Contract, the cure
amount for unpaid monetary obligations under such 365 Contract is as set forth on Exhibit 5A
attached hereto (the “Cure Cost”). The Cure Cost set forth on Exhibit 5A hereto supersedes any
notification of cure amounts previously provided by the Debtors. If you object to the potential
assumption or disagree with the proposed Cure Cost, you must file an objection with the Court no
later than fourteen (14) days after the date of receipt of this notice (the “Cure Objection Deadline”).

         Any objection to the proposed assumption by an Acquired Debtor or assumption and
assignment to the Plan Sponsor of the applicable 365 Contract (including, for the avoidance of any
doubt, any objection to an Acquired Debtor or the Plan Sponsor’s ability to provide adequate
assurance of future performance or the proposed Cure Costs), must (a) state in writing, with
specificity, the legal and factual basis for such objection as well as what Cure Costs are required,
if any, (b) include appropriate documentation in support thereof, and (c) be filed with the Court no
later than the Contract Objection Deadline.

        Any time prior to the closing of the Effective Date, the Debtors are authorized, but not
directed, to supplement the list of 365 Contracts on the Executory Contract and Unexpired Lease
Notice or any exhibit thereto or any future notice with previously omitted 365 Contracts, remove


3
    This Notice is being sent to counterparties to Contracts and/or Leases. This Notice is not an admission by the
      Debtors that such contract or lease is executory or unexpired, or that the Debtors will, at any point, assume or
      assume and assign such Contract or Lease.


                                                           3
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 78 78 of 82
                                                                    of 82



a 365 Contract from the Executory Contract and Unexpired Lease Notice or any exhibit thereto or
any future notice, or modify the previously stated Cure Cost associated with any 365 Contract.

        In the event that the Debtors supplement the Executory Contract and Unexpired Lease
Notice or any exhibit thereto or modify the previously stated Cure Cost for a particular 365
Contract, the Debtors shall promptly serve a revised notice on each counterparty affected. Such
counterparties shall file any objection with respect to the revised notice not later than seven (7)
days after the date of filing and service of the revised notice.

         At the Combined Hearing, the Debtors will seek Court approval of the assumption by an
Acquired Debtor or assumption and assignment to the Plan Sponsor, as applicable, of the Assumed
Contracts and Leases. The inclusion of a 365 Contract in the Executory Contract or Unexpired
Lease Notice will not: (a) obligate the Debtors to assume any 365 Contract listed thereon or
obligate the Plan Sponsor to take assignment of such 365 Contract; or (b) constitute any admission
or agreement of the Debtors that such 365 Contract is an Executory Contract or Unexpired Lease.
The Debtors’ assumption and assignment to the Plan Sponsor (or assumption by an Acquired
Debtor) of any 365 Contract is subject to consummation of the Plan. In the event the
consummation of the Plan does not occur, no Executory Contract or Unexpired Lease (including
any 365 Contract) or leases will be deemed assumed or assigned and all contracts and leases shall,
in all respects, remain subject to further administration under the Bankruptcy Code.

        If a counterparty to a 365 Contract does not timely file and serve an objection that is
consistent with the requirements set forth above by the Contract Objection Deadline, (a) such
counterparty will be deemed to have consented to the assumption by an Acquired Debtor or
assumption and assignment to the Plan Sponsor, as applicable, of such 365 Contract to the Plan
Sponsor, notwithstanding any anti-alienation provision or other restriction on assumption or
assignment in such 365 Contract, and will be forever barred from asserting any objection with
regard to such assumption or assumption and assignment, as applicable, and/or Cure Costs set
forth on the Executory Contract and Unexpired Lease Notice or any exhibit thereto, (b) any and
all defaults under such 365 Contract and any and all pecuniary losses related thereto shall be
deemed cured and compensated pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy Code
upon payment of the Cure Cost set forth in the Executory Contract and Unexpired Lease Notice
or any exhibit thereto for such 365 Contract, and (c) the Cure Cost set forth in the Executory
Contract and Unexpired Lease Notice or any exhibit thereto for such 365 Contract shall be
controlling, notwithstanding anything to the contrary in such 365 Contract, or any other related
document, and such counterparty shall be deemed to have consented to the Cure Cost and shall be
forever barred from asserting any other claims related to such 365 Contract against the Debtors
and their estates, an Acquired Debtor, or the Plan Sponsor, or the property of any of them, that
existed prior to the entry of the order resolving the objections and the Confirmation Order.

        To the extent that the parties are unable to consensually resolve any objection prior to the
commencement of the Combined Hearing, including any dispute with respect to the Cure Cost
(any such dispute, a “Cure Dispute”) which must be raised no later than the Contract Objection
Deadline, such objection will be adjudicated at the Combined Hearing or at such other date and
time as may be fixed by this Court; provided, however, that if the objection relates solely to a Cure
Dispute, the 365 Contract may be assumed by an Acquired Debtor or assumed and assigned to the


                                                 4
       Case20-34215
      Case  20-34215Document
                     Document  44 Filed
                             32-1  Filedonin08/21/20
                                             TXSB onin08/21/20 Page
                                                       TXSB Page 79 79 of 82
                                                                    of 82



Plan Sponsor, as applicable, at the Effective Date, with all rights with respect to any such Cure
Dispute reserved pending the Court’s adjudication of such Cure Dispute.

     ASSUMPTION AND ASSIGNMENT OF ANY EXECUTORY CONTRACT OR
UNEXPIRED LEASE PURSUANT TO THE PLAN, OR OTHERWISE, SHALL RESULT
IN THE FULL SATISFACTION, COMPROMISE, SETTLEMENT, RELEASE, AND
DISCHARGE OF ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR
NONMONETARY, INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE
CHANGE IN CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME PRIOR TO THE
EFFECTIVE DATE OF ASSUMPTION AND/OR ASSIGNMENT.

     PLEASE REVIEW THE PLAN AND THE DISCLOSURE STATEMENT FOR
DETAILS REGARDING THE ASSUMPTION, ASSUMPTION AND ASSIGNMENT, AND
REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

     YOU MAY WISH TO SEEK LEGAL ADVICE CONCERNING THE PLAN AND
THE PLAN’S TREATMENT OF YOUR CONTRACT OR LEASE.




                                                 5
     Case20-34215
    Case  20-34215Document
                   Document  44 Filed
                           32-1  Filedonin08/21/20
                                           TXSB onin08/21/20 Page
                                                     TXSB Page 80 80 of 82
                                                                  of 82



Houston, Texas
August 21, 2020

Respectfully Submitted,


JACKSON WALKER L.L.P.                        KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Genevieve Graham (TX Bar No. 24085340)       Brian Schartz, P.C. (TX Bar No. 24099361)
Veronica A. Polnick (TX Bar No. 24079148)    609 Main Street
Victoria Argeroplos (TX Bar No. 24105799)    Houston, Texas 77002
1401 McKinney Street, Suite 1900             Telephone:      (713) 836-3600
Houston, Texas 77010                         Facsimile:      (713) 836-3601
Telephone:     (713) 752-4200                Email:          brian.schartz@kirkland.com
Facsimile:     (713) 752-4221
Email:         mcavenaugh@jw.com             -and-
               ggraham@jw.com
               vpolnick@jw.com               Gregory F. Pesce (pro hac vice admission pending)
               vargeroplos@jw.com            300 North LaSalle Street
                                             Chicago, Illinois 60654
Proposed Co-Counsel to the Debtors           Telephone: (312) 862-2000
and Debtors in Possession                    Facsimile: (312) 862-2200
                                             Email:        gregory.pesce@kirkland.com

                                             Proposed Co-Counsel to the Debtors
                                             and Debtors in Possession
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 81 81 of 82
                                                              of 82



                              Exhibit 5A

                       Schedule of 365 Contracts
 Case20-34215
Case  20-34215Document
               Document  44 Filed
                       32-1  Filedonin08/21/20
                                       TXSB onin08/21/20 Page
                                                 TXSB Page 82 82 of 82
                                                              of 82




                                      Description of Assumed
Debtor           Counterparty                                  Cure Cost
                                       Contracts or Leases
